Case 3:15-cv-00849-MMH-PDB Document 468 Filed 03/21/19 Page 1 of 75 PageID 14310




                                 UNITED STATES DISTRICT COURT
                                  MIDDLE DISTRICT OF FLORIDA
                                     JACKSONVILLE DIVISION


      LANARD TOYS LIMITED,

                    Plaintiff,

      v.                                                       Case No. 3:15-cv-849-J-34PDB

      TOYS ''R'' US-DELAWARE, INC.,
      DOLGENCORP, LLC, and JA-RU, INC.,

                    Defendants.


                                               ORDER

             THIS CAUSE is before the Court as a copyright, patent, trade dress and unfair

      competition action pertaining to a toy chalk holder. See generally Second Amended

      Complaint and Demand for Jury Trial (Doc. 103; Amended Complaint). Plaintiff Lanard

      Toys Limited (Lanard) developed a chalk holder in the shape of an over-sized, no. 2 pencil

      (the Chalk Pencil) as a fanciful toy for children. Lanard registered a copyright in its Chalk

      Pencil and also obtained a design patent for the toy. Soon thereafter, Defendant Ja-Ru,

      Inc. (Ja-Ru) released a similar version of a chalk holder in the shape of a pencil (the Ja-

      Ru Chalk Holder). When Defendants Toys R US-Delaware, Inc. (TRU) and Dolgencorp,

      LLC (Dolgencorp) stopped selling Lanard’s Chalk Pencil and began selling the Ja-Ru

      Chalk Holder instead, Lanard brought this lawsuit asserting claims for copyright

      infringement, patent infringement, trade dress infringement and unfair competition against

      Defendants. Defendants responded with counterclaims seeking declaratory judgment as

      to the invalidity, unenforceability, and non-infringement of Lanard’s copyright, patent and

      trade dress, as well as the lack of any unfair competition.       See Answer, Affirmative
Case 3:15-cv-00849-MMH-PDB Document 468 Filed 03/21/19 Page 2 of 75 PageID 14311




      Defenses, and Counterclaim to Second Amended Complaint, and Demand for Jury Trial

      (Docs. 270-272). At present, this simple toy, retailing at less than $5, has spawned five

      years of contentious litigation, hundreds of pages of evidence, expert testimony, and legal

      briefing, and no doubt hundreds of thousands of dollars in legal fees.                           Having

      unsuccessfully encouraged the parties to resolve the dispute amicably, the Court now

      turns to the merits of their claims.

              On July 24, 2017, the parties filed cross motions for summary judgment. See

      Plaintiff’s Motion for Partial Summary Judgment (Doc. 299; Lanard Motion); Defendants’

      Dispositive Motion for Summary Judgment and Memorandum of Law in Support (Doc. 302;

      Defendants Motion). In the Lanard Motion, Lanard seeks summary judgment in its favor

      on all of its claims, as well as Defendants’ counterclaims for declaratory relief, and argues

      that damages are the only issue remaining for trial. See Lanard Motion at 1. In their

      Motion, Defendants move for summary judgment in their favor on all of Lanard’s claims.

      See Defendants Motion at 1. The parties filed responses in opposition to these summary

      judgment motions on August 7, 2017.               See Defendants Toys “R” Us-Delaware, Inc.,

      Dolgencorp, LLC and Ja-Ru, Inc.’s Response in Opposition to Plaintiff Lanard Toys

      Limited’s Motion for Partial Summary Judgment (Doc. 320; Defendants Response);

      Plaintiff’s Response in Opposition to Defendants’ Motion for Summary Judgment (Doc.

      321; Lanard Response).1 On September 5, 2017, with leave of Court, Plaintiff filed a reply

      in support of its Motion for Summary Judgment. See Plaintiff Lanard Toys Limited’s



      1
       Plaintiff also filed an unopposed request for judicial notice in support of its Response. See Plaintiff’s
      Unopposed Second Revised Request for Judicial Notice in Support of Plaintiffs’ Response in Opposition to
      Defendants’ Motion for Summary Judgment (Doc. 344). As Defendants do not oppose this request, the
      Court will take judicial notice of the patent and copyright documents addressed in this request.



                                                        -2-
Case 3:15-cv-00849-MMH-PDB Document 468 Filed 03/21/19 Page 3 of 75 PageID 14312




      Response in Reply to Defendants’ Response in Opposition to Plaintiff’s Motion for Partial

      Summary Judgment (Doc. 382; Reply). On November 13, 2017, the Court stayed this

      matter due to TRU’s bankruptcy. See Order (Doc. 391). After the Court lifted the stay

      on April 2, 2018, the parties filed notices of supplemental authority in support of their

      summary judgment briefing. See Plaintiff Lanard Toys Limited’s Notice of Supplemental

      Authority in Support of its Motion for Partial Summary Judgment (Doc. 410); Defendants’

      Amended Notice of Supplemental Authority re: Motion for Summary Judgment (Doc. 419).2

              On July 31, 2017, the parties filed seven Daubert motions. Lanard filed three such

      motions: one as to Defendants’ patent and copyright expert, Ronald B. Kemnitzer, one as

      to Defendants’ design expert, Deborah Ryan, and one as to Defendants’ damages expert

      Michael J. Mard. See Plaintiff’s Motion to (1) Strike the Supplemental Report of Ronald

      B. Kemnitzer as Untimely; and (2) Exclude the Opinions and Testimony of the Defendants’

      Purported Expert Ronald B. Kemnitzer (Doc. 310; Kemnitzer Motion); Plaintiff Lanard Toys

      Limited’s Motion to Exclude the Opinions and Testimony of Deborah Ryan (Doc. 313; Ryan

      Motion); Plaintiff Lanard Toys Limited’s Motion to Exclude the Opinions and Testimony of

      the Defendants’ Purported Expert Michael J. Mard, CPA (Doc. 312; Mard Motion).

      Defendants responded to each of these motions on August 10, 2017. See Defendants’

      Response in Opposition to Plaintiff Lanard Toys Limited’s Motion to Exclude the Opinion

      and Testimony of Deborah Ryan (Doc. 331; Ryan Response); Defendants’ Response in

      Opposition to Plaintiff Lanard Toys Limited’s Motion (1) to Strike the Supplemental Report




      2
       Thereafter, Defendants filed a notice identifying an error in their notice of supplemental authority. See
      Notice of Correction Re: Defendants’ Amended Notice of Supplemental Authority Re: Motion for Summary
      Judgment (D.E. #419) (Doc. 420).



                                                        -3-
Case 3:15-cv-00849-MMH-PDB Document 468 Filed 03/21/19 Page 4 of 75 PageID 14313




      of Ronald B. Kemnitzer as Untimely; and (2) to Exclude the Opinions and Testimony of

      Ronald B. Kemnitzer (Doc. 336; Kemnitzer Response); Defendants’ Response in

      Opposition to Plaintiff Lanard Toys Limited’s Motion to Exclude the Opinion and Testimony

      of Michael J. Mard (Doc. 333; Mard Response). Lanard also filed notices of supplemental

      authority in support of its Daubert motions. See Plaintiff Lanard Toys Limited’s Notice of

      Supplemental Authority in Support of its Motion to (1) Strike the Supplemental Report of

      Ronald B. Kemnitzer as Untimely; and (2) Exclue [sic] the Opinions and Testimony of the

      Defendants’ Purported Expert Ronald B. Kemnitzer (Doc. 411); Plaintiff Lanard Toys

      Limited’s Notice of Supplemental Authority in Support of its Motion to Exclude the Opinions

      and Testimony of the Defendants’ Purported Expert Michael J. Mard, CPA (Doc. 412).

             For their part, Defendants filed four Daubert motions: one as to Plaintiff’s patent and

      copyright expert Robert John Anders, one as to Plaintiff’s patent and copyright expert

      Parker H. Bagley, one as to Plaintiff’s industry expert Larry B. Myer, and one as to Plaintiff’s

      damages expert William Kerr. See Defendants’ Daubert Motion to Disqualify Robert John

      Anders and Preclude Testimony (Doc. 314; Anders Motion); Defendants’ Daubert Motion

      to Exclude Parker H. Bagley as an Expert and to Exclude his Rebuttal Expert Report and

      Testimony for all Purposes (Doc. 309; Bagley Motion); Defendants’ Daubert Motion to

      Exclude Larry B. Myer as an Expert, Exclude His Initial and Rebuttal Expert Reports and

      Testimony for all Purposes, or Alternatively Motion to Strike New Materials and Opinions

      in Rebuttal Report (Doc. 315; Myer Motion); Defendants’ Daubert Motion to Exclude

      William Kerr’s Expert Report and Reply Expert Report and to Exclude Testimony for all

      Purposes, or Alternatively to Strike New Materials and Opinions in Reply Report;

      Memorandum of Law (Doc. 316; Kerr Motion).             Plaintiff responded to each of these



                                                    -4-
Case 3:15-cv-00849-MMH-PDB Document 468 Filed 03/21/19 Page 5 of 75 PageID 14314




      motions on August 10, 2017. See Plaintiff Lanard Toys Limited’s Response in Opposition

      to Defendants’ Daubert Motion to Disqualify Robert John Anders and Preclude Testimony

      (Doc. 329; Anders Response); Plaintiff’s Response in Opposition to Defendants’ Daubert

      Motion to Exclude Parker H. Bagley as an Expert and to Exclude his Rebuttal Expert

      Report and Testimony for all Purposes (Doc. 332; Bagley Response); Plaintiff’s Response

      in Opposition to Defendants’ Daubert Motion to Exclude Larry B. Myer as an Expert, and

      His Initial and Rebuttal Expert Reports and Testimony, and Motion to Strike (Doc. 334;

      Myer Response); Plaintiff Lanard Toys Limited’s Opposition to Defendants’ Daubert

      Motion to Exclude William Kerr’s Expert Report and Reply Expert Report and to Exclude

      Testimony for All Purposes, or Alternatively to Strike New Materials and Opinions in Reply

      Report (Doc. 335; Kerr Response). Accordingly, all of those motions are ripe for review.

      I.     Background

             Lanard manufactures and sells toys to retail stores throughout the world, who, in

      turn, sell Lanard’s toys to the public. See Lanard Response, Ex. 3: Declaration of James

      W. Hesterberg in Support of Lanard’s Response in Opposition to Defendants’ Motion for

      Summary Judgment (Doc. 321-3; Hesterberg Decl.) ¶ 3. In 2010, Lanard’s designers

      developed a design for a chalk holder—“a device that can hold pieces of colored chalk to

      allow children to draw on the sidewalk.” Id. ¶ 4. The initial design for this chalk holder

      was in the shape of a “magic wand.” Id. However, an individual in the Lanard Hong

      Kong office saw the wand prototype and made the suggestion that it look like a big pencil

      instead.   See Deposition of Blake C. Nichols (Doc. 341-1; Nichols Dep.) at 73-75.

      Lanard’s corporate design director, Blake C. Nichols, then tasked Logan James Williams,

      a senior product designer at Lanard, with making the initial prototype of a chalk holder that



                                                  -5-
Case 3:15-cv-00849-MMH-PDB Document 468 Filed 03/21/19 Page 6 of 75 PageID 14315




      looks like a pencil. See Nichols Dep. at 16-17, 82; Deposition of Logan James Williams

      (Doc. 353; Williams Dep.) at 26-28. In creating this prototype, Williams looked at pencils

      present in the design shop. See Williams Dep. at 39-40.

              Lanard began selling its Chalk Pencil in the United States on November 1, 2010.

      See Declaration of Lewis Anten (Doc. 302-9; Anten Decl.) ¶ 6, Ex. E; see also Lanard

      Response, Ex. 4: Declaration of Angel Lee (Doc. 321-4; Lee Decl.) ¶ 9. Lanard submitted

      a United States copyright application for the design of the Chalk Pencil on September 20,

      2011.    See Lanard Response, Ex. C.               The Copyright Office issued a Certificate of

      Registration for Lanard’s Chalk Pencil effective September 20, 2011, and assigned it

      Registration No. VA 1-794-458. See Hesterberg Decl. ¶ 8; Lanard Response, Ex. D.

      The Certificate of Registration identifies the title of the work as “Pencil / Chalk Holder” and

      identifies it as a work of sculpture. 3 See Lanard Response, Ex. D. Since the Chalk

      Pencil’s first publication in 2010 and continuing with every Chalk Pencil sold since that

      time, Lanard has stamped a copyright notice, “© 2010 LANARD” into the plastic on the

      Chalk Pencil. See Hesterberg Decl. ¶ 10.

              On August 3, 2011, Lanard designers Blake Christopher Nichols and Logan James

      Williams applied for a design patent in the Chalk Pencil with the United States Patent and

      Trademark Office (USPTO). See Hesterberg Decl. ¶ 11; Lanard Response, Ex. F. On

      August 25, 2011, Nichols and Williams assigned their patent application to Lanard. See

      Hesterberg Decl. ¶ 13; Lanard Response, Ex. G. In late 2011, Lanard began stamping



      3
        The Certificate of Registration identifies Lanard Toys Inc. as the author of the work. See Lanard
      Response, Ex. D. Lanard Toys Inc. assigned its intellectual property rights to Lanard in an agreement dated
      November 1, 2005. See id., Ex. E. The parties do not dispute that Lanard owns the registered copyright
      in the Chalk Pencil.



                                                         -6-
Case 3:15-cv-00849-MMH-PDB Document 468 Filed 03/21/19 Page 7 of 75 PageID 14316




      “Patent Pending” into the plastic of the Chalk Pencil. See Hesterberg Decl. ¶ 14. The

      USPTO issued a patent for the Chalk Pencil on November 20, 2012, assigning it patent

      number D671,167 (the D#167 Patent).        See Lanard Response, Ex. H.         The D#167

      Patent contains one claim for “The ornamental design for a chalk holder, as shown and

      described,” and includes five figures showing the design from all views. Id. Following

      the issuance of the D#167 Patent, Lanard stamped the full patent number into the plastic

      on all models of the Chalk Pencil. See Hesterberg Decl. ¶ 17.

            Lanard sold the Chalk Pencil to Dolgencorp beginning in 2011. See id. ¶ 18; see

      also Lee Decl. ¶ 10. Dolgencorp purchased the Chalk Pencil through the 2011, 2012,

      and 2013 selling seasons, and sold it under the label “Concrete Canvas.” See Hesterberg

      Decl. ¶ 18; Lee Decl. ¶ 10. Lanard supplied the Chalk Pencil to TRU beginning with the

      2012 selling season. See Hesterberg Decl. ¶ 20; Lee Decl. ¶ 11. TRU sold the Chalk

      Pencil under its “Sizzlin’ Cool” private label. Hesterberg Decl. ¶ 20. Lanard also sold

      the Chalk Pencil to other major retailers, including Walgreen Co., Kmart Corporation, and

      Wal-Mart Stores, Inc. See Hesterberg Decl. ¶ 22.

            In the first quarter of 2012, Ja-Ru began development of the Ja-Ru Chalk Holder.

      See Declaration of Ivy Choderker (Doc. 302-19; Choderker Decl.), Ex. H: Defendant Ja-

      Ru, Inc’s Responses and Objections to Plaintiff Lanard Toy’s Limited’s Interrogatories (Ja-

      Ru Interog.), No. 15. Specifically, the director of merchandising at Ja-Ru, Angela Ku,

      developed the idea for the Ja-Ru Chalk Holder. See Angela Ku Deposition (Doc. 367; Ku

      Dep.) at 27. According to Ku, she came up with the idea for the Ja-Ru Chalk Holder as

      follows: “Shop the market, and we look at the sample. And also, in China there are all

      different pencil-looking product, so we [meaning, she and the Chinese factories] put the



                                                 -7-
Case 3:15-cv-00849-MMH-PDB Document 468 Filed 03/21/19 Page 8 of 75 PageID 14317




      idea together.” Id. at 27-28. Ku explains that the Lanard Chalk Pencil was one of the

      samples she considered, but maintains that there were “other pencil chalk samples too.”

      Id. at 28. Ku concedes that she purchased a “market sample” of the Lanard Chalk Pencil

      in early 2012 and used that sample as a reference in the development of Ja-Ru’s own

      version of the toy. See id. at 30, 38, 75-77. Although Ku insists other market samples

      were considered as well, the only documented reference sample is the Lanard Chalk

      Pencil. See Ku Dep. at 81, 116-17; see e.g., id. at 69, Ex. LA-8 (Doc. 367-59), id. at 109-

      10, Ex. 56 (Doc. 367-12).     Indeed, in an August 2, 2012 email exchange, a Ja-Ru

      employee compares Ja-Ru’s design sample to what appears to be Lanard’s Chalk Pencil

      and specifically identifies which items of its design should remain the same as the “market

      sample” and which items should be changed. See id., Ex. 56 (Doc. 367-12).

            Ja-Ru’s art director, Stephen Hearon, who designed the Ja-Ru Chalk Holder, recalls

      that he was given the Lanard Chalk Pencil as a “market sample to use for reference.”

      See Deposition of Stephen Hearon (Doc. 351-1; Hearon Dep.) at 28.            According to

      Hearon, he then attempted to make “a better Ja-Ru toy by designing elements of it, making

      – you know, design the ferrule the way that I thought a ferrule should look. Design the tip

      the way that I thought would be more functional and would give it—be more attractive.”

      Id. at 32.   Hearon cannot recall whether he referred to any other market sample or

      reference sample in designing the Ja-Ru Chalk Holder. See Hearon Dep. at 82, 84.

      Hearon testified that he worked with Russel Selevan and made improvements to the

      design “based on his suggestions and his approval.” See id. at 27. Selevan is a vice-

      president with Ja-Ru, who “probably” has “the lead” role in the design and development of

      toys. See Deposition of Russel Selevan (Doc. 356; R. Selevan Dep.) at 10-11. Selevan



                                                 -8-
Case 3:15-cv-00849-MMH-PDB Document 468 Filed 03/21/19 Page 9 of 75 PageID 14318




      also concedes that Ja-Ru had the Lanard Chalk Pencil during its design of the Ja-Ru Chalk

      Holder, but maintains that Ja-Ru made changes to the design so that it would not look like

      Lanard’s product. See id. at 25-26. According to Selevan, Ja-Ru reduced the size,

      changed “[t]he piece that holds . . . the eraser; the piece that holds the chalk on the bottom;

      changed the color of the yellow pencil to look more like what we believe a yellow No. 2

      pencil looks like; and probably some other changes . . . .” Id. at 26. According to

      Selevan, Ja-Ru designed its product to look like a no. 2 lead pencil, and while it referenced

      the Lanard Chalk Pencil, it also referenced “[n]o. 2 lead pencils, [Selevan’s] Think Big 25-

      year-old six-foot pencil, and many other pencils of different sizes and shapes . . . .” Id. at

      28-29.

               The Ja-Ru Chalk Holder was available to the public for purchase by at least as early

      as January 2014. See Declaration of Kimberly Mayben (Doc. 302-48; Mayben Decl.) ¶ 8

      (“TRU first sold the [Ja-Ru Chalk Holder] on or around January 17, 2014 . . . .”).

      Significantly, both TRU and Dolgencorp stopped ordering Lanard’s Chalk Pencil in late

      2013. See Hesterberg Decl. ¶ 23. Beginning with the 2014 selling season, TRU and

      Dolgencorp began offering the Ja-Ru Chalk Holder instead. Id. ¶¶ 24-25. Dolgencorp

      purchased approximately 21,282 units of the Ja-Ru Chalk Holder and generated $38,691

      in sales from the product in 2014. See Lanard Response, Ex. 5: Declaration of Richard

      P. Sybert (Doc. 321-5; Sybert Decl.), Ex. L Between 2013 and 2015, TRU sold 8,154

      units of the Ja-Ru Chalk Holder and generated $23,444.63 in gross revenue, for total gross

      profits of $14,076. See Choderker Decl., Ex. F: Defendant Toys “R” Us-Delaware, Inc.’s

      Responses and Objections to Plaintiff Lanard Toy’s Limited’s Interrogatories, Nos. 12-13.

      Ja-Ru sold the Ja-Ru Chalk Holder from 2013-2015, with 86,304 total units sold for a total



                                                   -9-
Case 3:15-cv-00849-MMH-PDB Document 468 Filed 03/21/19 Page 10 of 75 PageID 14319




      gross revenue of $77,618.62. See Ja-Ru Interog., No. 12. At present, however, Ja-Ru

      no longer sells the Ja-Ru Chalk Holder.              See R. Selevan Dep. at 121-22.              Prior to

      January 2014, when TRU began selling the Ja-Ru Chalk Holder, Lanard sold a total of

      581,984 units of its Chalk Pencil to its major customers in the United States, representing

      $1,113,077.92 in sales for the fiscal years 2011, 2012, and 2013. See Lee Decl., Ex. J

      at Bates No. LNRD000723. In total, between 2010 and 2016, Lanard shipped 1,415,034

      units of the Chalk Pencil worldwide, accumulating gross sales in excess of two million

      dollars. See Lee Decl. ¶ 15, Ex. J at Bates No. LNRD000740.

      II.     Standards of Review

              A.      Motions to Exclude Expert Opinions

              Rule 702 of the Federal Rules of Evidence (Evidence Rule(s)) provides:

              A witness who is qualified as an expert by knowledge, skill, experience,
              training, or education may testify in the form of an opinion or otherwise if:

              (a) The expert’s scientific technical or other specialized knowledge will help
                  the trier of fact to understand the evidence or to determine a fact in issue;
              (b) The testimony is based on sufficient facts or data;
              (c) The testimony is the product of reliable principles and methods; and
              (d) The expert has reliably applied the principles and methods to the facts
                  of the case.

      Fed. R. Evid. 702.4 In Daubert, the Supreme Court explained that Evidence Rule 702

      imposes an obligation on a trial court to act as gatekeeper, to ensure that any and all

      scientific testimony or evidence admitted is not only relevant, but reliable. Daubert v.




      4
       The language of Evidence Rule 702 was amended in December 2011. The Advisory Committee Notes
      accompanying this latest revision state that the changes are only stylistic and do not make any substantive
      change. Fed. R. Evid. 702 advisory committee’s note (2011 amends.). Thus, case law interpreting and
      applying Evidence Rule 702 prior to the 2011 changes is still applicable.



                                                        - 10 -
Case 3:15-cv-00849-MMH-PDB Document 468 Filed 03/21/19 Page 11 of 75 PageID 14320




      Merrell Dow Pharm., Inc., 509 U.S. 579, 589 (1993). To determine the admissibility of

      expert testimony, a trial court must consider whether:

             (1) the expert is qualified to testify competently regarding the matters he
             intends to address; (2) the methodology by which the expert reaches his
             conclusions is sufficiently reliable as determined by the sort of inquiry
             mandated in Daubert; and (3) the testimony assists the trier of fact through
             the application of scientific, technical, or specialized expertise, to understand
             the evidence or to determine a fact in issue.

      See United States v. Frazier, 387 F.3d 1244, 1260 (11th Cir. 2004). The burden of

      establishing qualification, reliability and helpfulness lies with the party offering the expert

      opinion. See McClain v. Metabolife Int’l, Inc. 401 F.3d 1233, 1238 (11th Cir. 2005). For

      the purpose of conducting the reliability inquiry mandated by Daubert, the Supreme Court

      has suggested that a trial court consider a number of factors, which include: (1) whether

      the theory or technique can be, and has been, tested; (2) whether the theory or technique

      has been subjected to peer review and publication; (3) the known or potential rate of error;

      and (4) whether the theory has attained general acceptance in the relevant scientific

      community. See Daubert, 509 U.S. at 593-94. These factors are not exhaustive, and

      the Eleventh Circuit Court of Appeals has also considered whether an expert has relied on

      anecdotal evidence, such as case reports; temporal proximity; and improper extrapolation.

      See Allison v. McGhan Med. Corp., 184 F.3d 1300, 1312 (11th Cir. 1999). The Court’s

      inquiry under Evidence Rule 702 must focus on the methodology, not conclusions, but the

      Court is not required to admit opinion testimony only connected to existing data by an

      expert’s unsupported assertion. See Daubert, 509 U.S. at 595; Gen. Elec. Co. v. Joiner,

      522 U.S. 136, 146 (1997).




                                                  - 11 -
Case 3:15-cv-00849-MMH-PDB Document 468 Filed 03/21/19 Page 12 of 75 PageID 14321




             In addition to determining the reliability of the proposed testimony, Daubert instructs

      that Evidence Rule 702 requires the Court to determine whether the evidence or testimony

      assists the trier of fact in understanding the evidence or determining a fact in issue. See

      Daubert 509 U.S. at 591. This consideration focuses on the relevance of the proffered

      expert testimony or evidence.        The Court explained that to satisfy this relevance

      requirement, the expert testimony must be “relevant to the task at hand.” Daubert, 509

      U.S. at 591. Because scientific testimony does not assist the trier of fact unless it has a

      justified scientific relation to the facts, the Eleventh Circuit has opined that “there is no fit

      where a large analytical leap must be made between the facts and the opinion.”

      McDowell v. Brown, 392 F.3d 1283, 1299 (11th Cir. 2004) (citing Joiner, 522 U.S. at 143-

      46) (finding too great an analytical gap between data suggesting that one type of cancer

      was caused in mice and the conclusion or opinion that such data established causation of

      another type of cancer in humans)).

             The proponent of expert testimony need not show that the opinion proffered is

      scientifically correct, but only, based upon a preponderance of the evidence, that the

      opinion is reliable.   See Allison, 184 F.3d at 1312.         Thus, absolute certainty is not

      required. See Jones v. Otis Elevator Co., 861 F.2d 655, 662 (11th Cir. 1988). However,

      an expert must know “facts which enable him to express a reasonably accurate conclusion

      instead of mere conjecture or speculation,” see id., and an expert’s assurances that he

      has used generally accepted scientific methodology are insufficient, see McClain, 401 F.3d

      at 1244.




                                                   - 12 -
Case 3:15-cv-00849-MMH-PDB Document 468 Filed 03/21/19 Page 13 of 75 PageID 14322




             B.      Summary Judgment

             Under Rule 56, Federal Rules of Civil Procedure (Rule(s)), “[t]he court shall grant

      summary judgment if the movant shows that there is no genuine dispute as to any

      material fact and the movant is entitled to judgment as a matter of law.” Rule 56(a). The

      record to be considered on a motion for summary judgment may include “depositions,

      documents, electronically stored information, affidavits or declarations, stipulations

      (including those made for purposes of the motion only), admissions, interrogatory

      answers, or other materials.” Rule 56(c)(1)(A).5 An issue is genuine when the evidence

      is such that a reasonable jury could return a verdict in favor of the nonmovant. Mize v.

      Jefferson City Bd. of Educ., 93 F.3d 739, 742 (11th Cir. 1996) (quoting Hairston v.

      Gainesville Sun Publ’g Co., 9 F.3d 913, 919 (11th Cir. 1993)). “[A] mere scintilla of

      evidence in support of the non-moving party’s position is insufficient to defeat a motion

      for summary judgment.” Kesinger ex rel. Estate of Kesinger v. Herrington, 381 F.3d

      1243, 1247 (11th Cir. 2004) (citing Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 252

      (1986)).

             The party seeking summary judgment bears the initial burden of demonstrating to

      the court, by reference to the record, that there are no genuine issues of material fact to




      5
              Rule 56 was revised in 2010 “to improve the procedures for presenting and deciding summary-
      judgment motions.” Rule 56 advisory committee’s note 2010 Amends.
              The standard for granting summary judgment remains unchanged. The language of
              subdivision (a) continues to require that there be no genuine dispute as to any material fact
              and that the movant be entitled to judgment as a matter of law. The amendments will not
              affect continuing development of the decisional law construing and applying these phrases.
      Id. “[A]lthough the interpretations in the advisory committee[‘s] notes are not binding, they are highly
      persuasive.” Campbell v. Shinseki, 546 F. App’x 874, 879 n.3 (11th Cir. 2013). Thus, case law construing
      the former Rule 56 standard of review remains viable and applies here.



                                                       - 13 -
Case 3:15-cv-00849-MMH-PDB Document 468 Filed 03/21/19 Page 14 of 75 PageID 14323




      be determined at trial. See Clark v. Coats & Clark, Inc., 929 F.2d 604, 608 (11th Cir.

      1991). “When a moving party has discharged its burden, the non-moving party must

      then go beyond the pleadings, and by its own affidavits, or by depositions, answers to

      interrogatories, and admissions on file, designate specific facts showing that there is a

      genuine issue for trial.” Jeffery v. Sarasota White Sox, Inc., 64 F.3d 590, 593–94 (11th

      Cir. 1995) (internal citations and quotation marks omitted). Substantive law determines

      the materiality of facts, and “[o]nly disputes over facts that might affect the outcome of

      the suit under the governing law will properly preclude the entry of summary judgment.”

      Anderson, 477 U.S. at 248. In determining whether summary judgment is appropriate,

      a court “must view all evidence and make all reasonable inferences in favor of the party

      opposing summary judgment.” Haves v. City of Miami, 52 F.3d 918, 921 (11th Cir. 1995)

      (citing Dibrell Bros. Int’l, S.A. v. Banca Nazionale Del Lavoro, 38 F.3d 1571, 1578 (11th

      Cir. 1994)).

      III.   Summary of Decision on the Merits

             For the reasons set forth below, the Court determines that no reasonable juror,

      properly instructed on the applicable law and protectable elements of the D#167 Patent,

      could conclude that the Ja-Ru Chalk Holder is substantially similar to the patented design.

      As such, Lanard’s patent claim fails on the basis of non-infringement and the Court need

      not reach the issue of patent validity.    The Court further determines that Lanard’s

      copyright is invalid because the Chalk Pencil is an uncopyrightable “useful article.”

      However, even if Lanard does have some protectable copyright interest in the Chalk

      Pencil, Defendants are entitled to summary judgment in their favor on this claim because

      any similarity between the two designs results from the non-protectable elements of the



                                                 - 14 -
Case 3:15-cv-00849-MMH-PDB Document 468 Filed 03/21/19 Page 15 of 75 PageID 14324




      work. In addition, the Court finds that on the evidence presented, no reasonable juror

      could find that Lanard’s purported trade dress in the Chalk Pencil has acquired secondary

      meaning. As such, Lanard cannot prevail on its trade dress infringement claim. And,

      because Lanard’s unfair competition claim is predicated on such infringement, this claim

      fails as well. Defendants are therefore entitled to summary judgment in their favor on

      all of Lanard’s claims.    As to Defendants’ counterclaims, because the foregoing

      determinations resolve the controversy between the parties, the Court will exercise its

      discretion to decline to consider Defendants’ requests for declaratory relief and dismiss

      those counterclaims without prejudice. As such, the Court will deny Lanard’s request

      for summary judgment on the counterclaims as moot.

      IV.   Expert Testimony

            As a preliminary matter, the Court determined that resolution of the various

      Daubert motions should be bifurcated with the Court first resolving only those addressing

      evidence relied upon in the summary judgment briefing or necessary to a resolution of

      the summary judgment motions. As such, in this Order, the Court does not address the

      Daubert motions related to the damages experts, Mard and Kerr. In addition, upon

      review of the summary judgment filings, the Court notes that Lanard does not rely on the

      testimony of its experts Parker Bagley or Larry Myer in its briefing. Thus, resolution of

      the Daubert motions as to those experts is not necessary for purposes of resolving the

      summary judgment motions. Likewise, Defendants do not substantially rely in their

      summary judgment briefing on the testimony of their expert Deborah Ryan, and as such




                                                - 15 -
Case 3:15-cv-00849-MMH-PDB Document 468 Filed 03/21/19 Page 16 of 75 PageID 14325




      the Court need not address Lanard’s Daubert motion as to that expert either. 6

      Accordingly, in this Order, the Court addresses the opinions of the patent and copyright

      experts Ronald B. Kemnitzer, on behalf of Defendants, and Robert John Anders on behalf

      of Lanard.

              Kemnitzer is an industrial designer with over forty years of experience. See Expert

      Report of Ronald B. Kemnitzer (Doc. 310-2; Kemnitzer Report) at 2. He owned and

      operated a design consulting office for eighteen years, and has designed and supervised

      the design of over 150 products, including toys. Id. at 3. He has also served as a “full-

      time industrial design educator,” for over thirty-five years, and currently serves as

      Professor Emeritus of Industrial Design at the Virginia Polytechnic Institute and State

      University. Id. Lanard does not challenge Kemnitzer’s qualifications to serve as an

      expert in this case. Likewise, Anders has over fifty years of experience in the field of

      industrial design. See Anders Response, Ex. A (Doc. 329-2; Anders Report) at 2. He

      spent thirty years in a variety of senior design management positions, including as part of

      his own consultancies and with major corporations. Id. at 5. Anders also spent a portion

      of his career as a tenured Professor of Industrial Design at Pratt Institute.                    Id. at 3.

      Although Anders has never been involved in the design of a toy, see Deposition of John

      Anders (Doc. 342-1; Anders Dep.) at 73, Defendants do not challenge his qualifications to




      6
        Defendants do cite to Ryan’s deposition and expert report on a limited basis in their Response to Lanard’s
      Motion for Summary Judgment. See Defendants Response at 9 n.11 and 18 n.31. However, because for
      the reasons set forth below, the Court determines that summary judgment is due to be granted in Defendants
      favor without consideration of that evidence, the Court need not address Lanard’s Daubert motion as to
      Ryan.



                                                         - 16 -
Case 3:15-cv-00849-MMH-PDB Document 468 Filed 03/21/19 Page 17 of 75 PageID 14326




      serve as an expert in this case. See Anders Motion at 2. Both of these experts offer

      opinions on the issues of patent and copyright infringement.7

              As addressed more fully below, the test for patent infringement is premised on the

      perception of the “ordinary observer.” See Crocs, Inc. v. Int’l Trade Comm’n, 598 F.3d

      1294, 1303 (Fed Cir. 2010). Likewise, copyright infringement is based on substantial

      similarity as perceived by the “average lay observer.” See Leigh v. Warner Bros., Inc.,

      212 F.3d 1210, 1214 (Fed. Cir. 2000). The work at issue here is a simple toy designed

      to look like the ubiquitous no. 2 pencil. As such, the Court questions whether the opinions

      and analysis of these experts in industrial design are in any way helpful to the fact-finder.

      See Contessa Food Prods., Inc. v. Conagra, Inc., 282 F.3d 1370, 1381-82 (Fed. Cir. 2002)

      (“Analysis under the ‘ordinary observer’ test is to be conducted with the ‘ordinary observer’

      and not the expert designer in mind.”) abrogated on other grounds by Egyptian Goddess,

      Inc. v. Swisa, Inc., 543 F.3d 665, 671, 678 (Fed. Cir. 2008); see also Dyson, Inc. v.

      SharkNinja Operating LLC, Case No. 14-cv-779, 2018 WL 1906105, at *7-8 (N.D. Ill. Mar.

      29, 2018) (collecting cases). Indeed, in the Kemnitzer Motion, Lanard argues that “it is

      not helpful to the jury for an expert to opine on an ultimate issue as simple as comparing

      the visual similarities of two toys, especially where neither is ‘technical nor sophisticated.’”

      See Kemnitzer Motion at 20-24 (quoting Keystone Retaining Wall Sys., Inc. v. Rockwood

      Retaining Wall, Inc., Case No. 00-496 (RHK/SRN), 2001 WL 36102284, at *10 (D. Minn.

      Oct. 9, 2001)).       Notably, Defendants do not appear to disagree.                    See Kemnitzer




      7
       The experts also opine on the validity of the D#167 Patent but as the Court does not reach that issue, the
      Court need not address those opinions.



                                                        - 17 -
Case 3:15-cv-00849-MMH-PDB Document 468 Filed 03/21/19 Page 18 of 75 PageID 14327




      Response at 16 (“Given the simple and familiar designs at issue in this matter, Defendants

      believe that ultimate issues of fact and law, namely the validity and infringement of the

      copyrights and patents in suit, are the province of the judge and jury.”); Anders Motion at

      7 (“Defendants further assert that the ultimate issue of infringement is not a proper subject

      for expert testimony in this matter.”). While the Court agrees with Lanard’s contention

      that Kemnitzer’s opinions on ultimate issues are not helpful, what Lanard fails to

      acknowledge is that this argument equally applies to the opinions of its own expert, Anders,

      on these same ultimate issues. Accordingly, the Court will exclude both experts’ ultimate

      conclusions on the issues of copyright and patent infringement.                       However, this

      determination does not apply to the factual analysis of each expert in which each describes

      his observations as to the similarities and differences between the prior art, the D#167

      Patent, the Chalk Pencil, and the Ja-Ru Chalk Holder. Unlike their ultimate conclusions,

      the factual analyses are helpful in that they provide the fact-finder with the terminology to

      describe the features and shapes which one observes when comparing these designs.

      To the extent Lanard contends that Kemnitzer’s detailed analysis is inconsistent with the

      ordinary observer standard, see Lanard Motion at 14-15, the Court finds this argument is

      not directed to the admissibility of Kemnitzer’s opinions but rather whether those opinions

      are sufficient to demonstrate a lack of substantial similarity under the applicable law.8 As

      such, the Court will address Lanard’s arguments regarding the application of the ordinary




      8
        In its analysis below, the Court does not rely on Kemnitzer’s “red-line” depiction of the D#167 Patent
      superimposed over the Ja-Ru Chalk Holder, nor does the Court rely on Kemnitzer’s detailed measurements
      of the size of the elements of each design in proportion to the whole. Accordingly, the Court need not
      consider Lanard’s request to exclude this evidence.




                                                       - 18 -
Case 3:15-cv-00849-MMH-PDB Document 468 Filed 03/21/19 Page 19 of 75 PageID 14328




      observer standard to Kemnitzer’s findings in its analysis of the merits. The remainder of

      Lanard’s challenges to Kemnitzer’s testimony are without merit and the Court will address

      them briefly below.

             Lanard asserts that Defendants disclosed a supplemental report from Kemnitzer on

      June 22, 2017, well after the Court-ordered deadline of June 9, 2017, and the day before

      Lanard’s rebuttal expert reports were due. See Supplement to the June 9, 2017 Expert

      Report of Ronald B. Kemnitzer (Doc. 310-4; Kemnitzer Supplement); see also Amended

      Case Management and Scheduling Order (Doc. 210).              The Kemnitzer Supplement

      contains Kemnitzer’s opinions on an additional piece of uncited prior art, a “Giant Pencil”

      sold by Pencil Craft. See generally Kemnitzer Supplement. Lanard moves to strike this

      supplemental report as untimely pursuant to Rule 37(c). In response, Defendants assert

      that their counsel only learned of the existence of the Pencil Craft “Giant Pencil” on June

      15, 2017, and that they provided this pencil to Kemnitzer for his analysis that same day.

      See Kemnitzer Response at 5-6. According to Defendants, counsel disclosed the “Giant

      Pencil” to Lanard on June 19, 2017. Id. at 6. Defendants maintain that they then served

      Lanard with the Kemnitzer Supplemental Report concerning this Giant Pencil on June 22,

      2017, “upon receipt from Mr. Kemnitzer.” Id.

             Under Rule 37(c)(1), when a “party fails to provide information or identify a witness

      as required by Rule 26(a) or (e), the party is not allowed to use that information or witness

      to supply evidence on a motion, at a hearing, or at a trial, unless the failure was

      substantially justified or is harmless.” Defendants bear the burden of establishing that

      the failure to disclose was substantially justified or harmless. See Mitchell v. Ford Motor




                                                 - 19 -
Case 3:15-cv-00849-MMH-PDB Document 468 Filed 03/21/19 Page 20 of 75 PageID 14329




      Co., 318 F. App’x 821, 824 (11th Cir. 2009). In determining whether a failure to disclose

      was substantially justified or harmless, courts weigh the following factors:

             (1) the surprise to the party against whom the evidence would be offered; (2)
             the ability of that party to cure the surprise; (3) the extent to which allowing
             the evidence would disrupt the trial; (4) the importance of the evidence; and
             (5) the nondisclosing party’s explanation for its failure to disclose the
             evidence.

      See Mobile Shelter Sys. USA v. Grate Pallet Solutions, LLC, 845 F. Supp. 2d 1241, 1250-

      51 (M.D. Fla. 2012); Rembrandt Vision Techs., L.P. v. Johnson & Johnson Vision Care,

      Inc., 282 F.R.D. 655, 663 n.7 (M.D. Fla. 2012). Upon consideration of the foregoing

      factors, the Court finds that Defendants’ failure to timely disclose the opinions in

      Kemnitzer’s Supplemental Report was harmless. Despite the late submission, Anders

      responded at length to these supplemental opinions in his own expert report. See Anders

      Report at 52-55.    Notably, Anders does not state at any point that he did not have

      sufficient time to consider the information in the Supplement. Moreover, Lanard received

      the Kemnitzer Supplement well before Kemnitzer’s deposition, on July 7, 2017, and

      questioned Kemnitzer about these opinions at the deposition. See Deposition of Ronald

      Kemnitzer (Doc. 348; Kemnitzer Dep.) at 73-75.            In addition, Anders had ample

      opportunity to consider this supplemental evidence before his own deposition on July 12,

      2017. Lanard does not identify any specific harm or prejudice resulting from this untimely

      disclosure, nor did Lanard ever seek additional time to address the late-disclosed

      supplement. Accordingly, as Defendants have satisfied their burden to demonstrate that

      the late disclosure was harmless, Lanard’s request to strike the Kemnitzer Supplement is

      due to be denied.




                                                  - 20 -
Case 3:15-cv-00849-MMH-PDB Document 468 Filed 03/21/19 Page 21 of 75 PageID 14330




             Next, Lanard seeks the exclusion of Kemnitzer’s opinion that the D#167 Patent is

      “primarily functional, not ornamental.” See Kemnitzer Motion at 11; Kemnitzer Report at

      8-9. According to Lanard, Kemnitzer relies on the wrong legal standard in determining

      functionality, such that “his testimony emanating from this faulty assumption must be

      excluded.” See Kemnitzer Motion at 11. Specifically, in his report, Kemnitzer assumes

      that a design is “primarily functional if it is ‘essential to the use or purpose of the article or

      if it affects the cost or quality of the article.’”    See Kemnitzer Report at 8.         Lanard

      maintains that this standard applies to the functionality of trademarks, not patents. See

      Kemnitzer Motion at 10-11.       Upon review, however, the Court finds that the Federal

      Circuit has applied the definition of functionality on which Kemnitzer relies in patent design

      cases. See Amini Innovation Corp. v. Anthony California, Inc., 439 F.3d 1365, 1371 (Fed.

      Cir. 2006); see also Keurig, Inc. v. JBR, Inc., No. 11-11941-FDS, 2013 WL 2304171, at *8

      (D. Mass. May 24, 2013) aff’d 558 F. App’x 1009 (Fed. Cir. 2014). As such, the Court will

      not exclude Kemnitzer’s testimony on this basis. Regardless, Lanard does not challenge

      Kemnitzer’s factual analysis of the functions performed by the various elements of the

      design. See Kemnitzer Report ¶ 28 a.-g. Thus, even if Kemnitzer applied the wrong

      legal standard in arriving at his ultimate determination of primary functionality, this does

      not undermine the reliability or relevance of Kemnitzer’s factual assessment that the eraser

      “functions to erase chalk,” the body “provides a solid foundation for a writer or artist to hold

      onto while using the chalk pencil,” and so forth.         Id.   The Court will address below




                                                    - 21 -
Case 3:15-cv-00849-MMH-PDB Document 468 Filed 03/21/19 Page 22 of 75 PageID 14331




      whether those functional features limit the scope of the patent or render any elements of

      the design “primarily functional” as that term is defined in patent law.9

              Lanard also contends that Kemnitzer’s opinions are unreliable because he cites

      prior art references without establishing that the references did in fact exist prior to the

      D#167 Patent. See Kemnitzer Motion at 18-19.10 Specifically, Lanard challenges the

      prior art existence of the Dixon Ticonderoga #2 and SenseMatic pencils, the Palomino

      pencil, the Office Depot pencil, and the Pencil Craft “Giant Pencil.” Id. As to the Dixon

      pencils, Defendants present unrebutted evidence that the Ticonderoga no. 2 pencil has

      been used in commerce since at least 1983, and the SenseMatic mechanical pencil has

      been in United States commerce since 1988. See Choderker Decl. ¶¶ 11-13, Exs. J-L.



      9
        In addition, Lanard moves to exclude Kemnitzer’s opinions in their entirety because, according to Lanard,
      defense counsel directed Kemnitzer to render “a ‘non-infringement opinion.’” See Kemnitzer Motion at 11-
      12. Lanard’s argument in this regard is unsupported and without merit. The relevant deposition testimony
      in proper context is as follows:
               Q: When you were retained in this case, were you told what opinions they wanted from
               you?
               A: Whenever I am engaged, I am asked to opine on a subject of their discretion. And
               oftentimes, there are more than one patents involved, utility patents, trademark, and not
               always asked to do everything, seldom, in fact.
               Q: So you were asked to give and render a non-infringement opinion?
               A: Yeah.
      See Kemnitzer Dep. at 72. The inartful wording of the question notwithstanding, Kemnitzer was plainly
      speaking to the subjects on which he was hired to opine, and not suggesting that he was directed to reach
      a particular result. Notably, Lanard’s own expert acknowledged during his deposition that he was retained
      to “rebut” Kemnitzer’s opinions and “opine on validity and infringement of design patent that’s been asserted
      as well as opine on infringement of a registered copyright.” See Anders Dep. at 14. Presumably, Lanard
      does not believe that this testimony is likewise evidence of improper “result-oriented logic” warranting
      Anders’ exclusion as well. See Lanard Motion at 11-12. While zealous advocacy has its place, under
      these circumstances, Lanard’s argument regarding Kremnitzer borders on absurd.

      10
         Lanard contends that Kemnitzer’s report includes “false statements of fact,” because Kemnitzer refers to
      U.S. Patent No. 1,920,680 (the Davis Patent) as uncited prior art. See Kemnitzer Motion at 16. Indeed, it
      does appear that Kemnitzer made an error in characterizing the Davis Patent as uncited prior art because
      the Davis Patent was in fact cited by the examiner. See Kemnitzer Dep. at 48-49. Kemnitzer
      acknowledged this error at his deposition and clarified that correcting the error does not change his opinion.
      Id. at 49. This mistake has no impact on the Court’s analysis of the infringement issue below and does not
      warrant exclusion of Kemnitzer’s opinions.



                                                          - 22 -
Case 3:15-cv-00849-MMH-PDB Document 468 Filed 03/21/19 Page 23 of 75 PageID 14332




      In addition, Defendants submit the Declaration of Vic Flegel (Doc. 303-1; Flegel Decl.), the

      owner of Pencil Craft LLC, who asserts that Pencil Craft has sold the Giant Pencil in United

      States commerce since at least 2009. See Flegel Decl. ¶¶ 2-3, Exs. A-B. Lanard does

      not challenge or even acknowledge this evidence establishing that the Dixon pencils and

      the Giant Pencil pre-dated the Chalk Pencil patent application. As such, Lanard’s request

      to exclude Kemnitzer’s opinions on this basis are without merit. As to the Palomino and

      Office Depot pencils, the Court finds it unnecessary to rely on these examples of prior art

      in its analysis, and as such, the Court will not consider Kemnitzer’s opinions regarding

      those pencils. Based on the foregoing, the Kemnitzer Motion is due to be denied, in part,

      and granted, in part, as set forth above.

             With regard to the Anders Motion, even viewing the remaining relevant and reliable

      portions of Anders’ testimony in the light most favorable to Lanard, the Court finds that

      Defendants are entitled to summary judgment on the issues of patent and copyright

      infringement. As such, aside from excluding his ultimate opinions, the Court need not

      specifically address Defendants’ request to exclude the remainder of Anders’ opinions,

      and will deny the remainder of the Anders Motion as moot. The Court will now proceed

      to the merits of the case.

      V.     Patent

             A. Applicable Law

             Pursuant to 35 U.S.C. § 171, “[w]hoever invents any new, original and ornamental

      design for an article of manufacture may obtain a patent therefor, subject to the conditions

      and requirements of this title.” See 35 U.S.C. § 171. Unlike utility patents, “[a] design

      patent protects the nonfunctional aspects of an ornamental design as shown in the patent.”



                                                  - 23 -
Case 3:15-cv-00849-MMH-PDB Document 468 Filed 03/21/19 Page 24 of 75 PageID 14333




      See Elmer v. ICC Fabricating, Inc., 67 F.3d 1571, 1577 (Fed. Cir. 1995). Determining

      whether a design patent has been infringed requires two steps. See id. The court must

      first construe the claim “to determine its meaning and scope.” Id. Then, the factfinder

      compares the properly construed claim to the accused design “to determine whether there

      has been infringement.” Id. In Egyptian Goddess, Inc. v. Swisa, Inc., the Federal Circuit

      clarified the appropriate form of claim construction in the context of design patents. See

      Egyptian Goddess, Inc. v. Swisa, Inc., 543 F.3d 665, 679 (Fed. Cir. 2008). The Egyptian

      Goddess Court explained that design patents “‘typically are claimed as shown in drawings,’

      and that claim construction ‘is adapted accordingly.’” Id. (quoting Arminak & Assocs., Inc.

      v. Saint-Gobain Calmar, Inc., 501 F.3d 1314, 1319 (Fed. Cir. 2007)). This means that

      trial courts are not required “to provide a detailed verbal description of the claimed design,

      as is typically done in the case of utility patents.” Id. Indeed, “the preferable course

      ordinarily will be for a district court not to attempt to ‘construe’ a design patent claim by

      providing a detailed verbal description of the claimed design.” Id. Nonetheless, it may

      be helpful to point out “various features of the claimed design as they relate to the accused

      design and the prior art.” Id. at 680. In addition, it may be helpful to address other issues

      that bear on the scope of the claim, such as “distinguishing between those features of the

      claimed design that are ornamental and those that are purely functional.” Id.

             Turning to the second step, “[d]esign patent infringement is a question of fact, which

      a patentee must prove by a preponderance of the evidence.” See Richardson v. Stanley

      Works, Inc., 597 F.3d 1288, 1295 (Fed. Cir. 2010). To determine whether an accused

      product infringes a patented design, the “ordinary observer” test applies. See Egyptian

      Goddess, 543 F.3d at 678; Crocs, Inc., 598 F.3d at 1303. The “ordinary observer” test is



                                                  - 24 -
Case 3:15-cv-00849-MMH-PDB Document 468 Filed 03/21/19 Page 25 of 75 PageID 14334




      properly defined as: whether “an ordinary observer, familiar with the prior art designs,

      would be deceived into believing that the accused product is the same as the patented

      design.”    See Crocs, Inc., 598 F.3d at 1303.       Significantly, this test “applies to the

      patented design in its entirety, as it is claimed,” and “‘[m]inor differences between a

      patented design and an accused article’s design cannot, and shall not, prevent a finding

      of infringement.’” Id. (quoting Payless Shoesource, Inc. v. Reebok Int’l Ltd., 998 F.2d

      985, 991 (Fed. Cir. 1993)). The infringement inquiry is not limited to those features visible

      at the time of sale, but rather extends to “those features visible at any time in the ‘normal

      use’ lifetime of the accused product.” See Int’l Seaway Trading Corp. v. Walgreens Corp.,

      589 F.3d 1233, 1241 (Fed Cir. 2009) (quoting Contessa Food Prods., Inc., 282 F.3d at

      1379).     The “normal use” lifetime of a product “extends from the completion of

      manufacture or assembly until the ultimate destruction, loss, or disappearance of the

      article,” which includes, but is not limited to, the point of sale. Id. Additionally, as the

      D#167 Patent is not limited to a particular size, color or construction material, “such factors

      should not be taken into consideration in performing an infringement analysis.”           See

      Hutzler Mfg. Co., Inc. v. Bradshaw Int’l, Inc., No. 11 Civ 7211 (PGG), 2012 WL 3031150,

      at *12 (S.D.N.Y. July 25, 2012) (collecting cases); see also Unique Functional Prods., Inc.

      v. Mastercraft Boat Co., Inc., 82 F. App’x 683, 690 (Fed. Cir. 2003) (finding that the trial

      court erred by considering features such as size and color which were not included in the

      patent).

               In some cases, “[w]here the claimed and accused designs are ‘sufficiently distinct’

      and ‘plainly dissimilar,’” it is unnecessary to consider the prior art. Ethicon Endo-Surgery,

      Inc. v. Covidien, Inc., 796 F.3d 1312, 1335, 1335 (Fed. Cir. 2015). However, where the



                                                  - 25 -
Case 3:15-cv-00849-MMH-PDB Document 468 Filed 03/21/19 Page 26 of 75 PageID 14335




      claimed and accused designs are not plainly dissimilar, it “can be difficult to answer the

      question whether one thing is like another without being given a frame of reference.” See

      Egyptian Goddess, Inc., 543 F.3d at 676-77. The background prior art provides this

      frame of reference.          Id.    Significantly, “[w]here the frame of reference consists of

      numerous similar prior art designs, those designs can highlight the distinctions between

      the claimed design and the accused design as viewed by the ordinary observer.” Id. at

      677. The Federal Circuit explains:

              When the differences between the claimed and accused designs are viewed
              in light of the prior art, the attention of the hypothetical ordinary observer
              may be drawn to those aspects of the claimed design that differ from the
              prior art. If the claimed design is close to the prior art designs, small
              differences between the accused design and the claimed design assume
              more importance to the eye of the hypothetical ordinary observer. The
              ordinary observer, however, will likely attach importance to those
              differences depending on the overall effect of those differences on the
              design.

      Crocs, Inc., 598 F.3d at 1303 (internal citations omitted). Significantly, these differences

      “must be evaluated in the context of the claimed design as a whole, and not in the context

      of separate elements in isolation.” See Ethicon Endo-Surgery, Inc., 796 F.3d at 1335.

      Thus, it is error to conduct “[a]n element-by-element comparison, untethered from

      application of the ordinary observer inquiry to the overall design . . . .” Id.11




      11
         Prior to Egyptian Goddess, the Federal Circuit applied an additional “point of novelty” test for infringement.
      This test required the patentee to identify the point of novelty which distinguished the claimed design from
      the prior art and demonstrate that this point of novelty had been appropriated by the accused design.
      Egyptian Goddess, 543 F.3d at 676. The Egyptian Goddess Court rejected this “point of novelty” test as
      inconsistent with Supreme Court precedent and unnecessary. Id. at 672. Nonetheless, the Federal Circuit
      clarified that its rejection of the point of novelty test “does not mean, of course, that the differences between
      the claimed design and prior art designs are irrelevant.” Id. at 678. Rather, “examining the novel features
      of the claimed design can be an important component of the comparison of the claimed design with the
      accused design and the prior art.” Id. But, such examination must be part of the overall ordinary observer
      test, not as a separate test focused on particular points of novelty. Id.



                                                           - 26 -
Case 3:15-cv-00849-MMH-PDB Document 468 Filed 03/21/19 Page 27 of 75 PageID 14336




            B. Claim Construction

            “In construing a design patent claim, the scope of the claimed design encompasses,

      ‘its visual appearance as a whole,’ and in particular ‘the visual impression it creates.’”

      See Contessa Food Prods., Inc., 282 F.3d at 1376 (quoting Durling v. Spectrum Furniture

      Co., 101 F.3d 100, 104-05 (Fed. Cir. 1996)). Lanard owns the D#167 Patent, entitled

      “Chalk Holder,” which recites one claim for “the ornamental design for a chalk holder, as

      shown and described” in five figures. The five exemplary figures are reproduced below:




      The Court will not undertake a detailed written description of the D#167 patent, and relies

      on these exemplary drawings.

            The Court next considers the functional features of the design.        See OddzOn

      Prods., Inc. v. Just Toys, Inc., 122 F.3d 1396, 1404-05 (Fed. Cir. 1997) (“Where a design

      contains both functional and non-functional elements, the scope of the claim must be

      construed in order to identify the non-functional aspects of the design as shown in the

      patent.”); Richardson, 597 F.3d at 1294. By definition, the patented design is for a chalk

      holder, “a device that can hold pieces of colored chalk to allow children to draw on the

      sidewalk,” see Hesterberg Decl. ¶ 4, and thus, has functional components that serve this

      purpose. Although Lanard makes much of the fact that its patent covers the design of a



                                                 - 27 -
Case 3:15-cv-00849-MMH-PDB Document 468 Filed 03/21/19 Page 28 of 75 PageID 14337




      “toy,” Lanard cites no authority to suggest that toys categorically cannot have functions,

      nor does Lanard argue that chalk holders are not functional devices.             See OddzOn

      Prods., Inc., 122 F.3d at 1406 (discussing the functional aspects of a toy tossing ball).

      Lanard makes no effort to distinguish between those aspects of the patented design that

      are functional and those aspects of the design that are ornamental, insisting more globally

      that overall the patented design is primarily ornamental because there are numerous

      alternative designs for chalk holders on the market. See Lanard Response at 12-13

      (citing L.A. Gear, Inc. v. Thom McAn Shoe Co., 988 F.2d 1117, 1123 (Fed. Cir. 1993)).

             Lanard’s position is correct, insofar as it goes, but Lanard fails to recognize that the

      functional characteristics of its design, while not invalidating the design, do “limit the scope

      of the protected subject matter.” See OddzOn Prods., Inc., 122 F.3d at 1406; Ethicon

      Endo-Surgery, Inc., 796 F.3d at 1333-34; Richardson, 597 F.3d at 1293 (“By definition, the

      patented design is for a multi-function tool that has several functional components, and we

      have made clear that a design patent, unlike a utility patent, limits protection to the

      ornamental design of the article.”). For purposes of claim construction, the Court must

      distinguish the underlying functional elements of the design which are not protected, from

      the particular ornamental features of those elements that are protected. See Ethicon

      Endo-Surgery, 796 F.3d at 1333-34, 1336. The design consists of four elements: the

      conical tapered piece, the hexagonal elongated body, the cylindrical ferrule, and the

      columnar eraser.      See Kemnitzer ¶ 28; see also Anders Report at 45, Table 4.

      Defendants contend that “each element of the D#167 design and the Ja-Ru Chalk Holder

      serves a functional purpose.” See Defendants Motion at 14. For example, Kemnitzer

      opines that the conical tapered piece holds the chalk in place for writing, the elongated



                                                   - 28 -
Case 3:15-cv-00849-MMH-PDB Document 468 Filed 03/21/19 Page 29 of 75 PageID 14338




      body stores chalk and provides a surface for the user to grasp, the ferrule attaches the

      eraser to the body of the chalk holder and unscrews to allow the user to access the inside

      of the device for storage, and the eraser serves to erase. See Kemnitzer Report ¶ 28.

      Lanard presents no probative evidence which actually rebuts the functional aspects of

      these elements, and indeed, Lanard’s packaging materials for the Chalk Pencil, the

      commercial embodiment of the patented design, advertise these very functions. See

      Hesterberg Decl., Ex. B; Ethicon Endo-Surgery, Inc., 796 F.3d at 1330 (identifying

      “whether the advertising touts particular features of the design as having a specific utility”

      as one of the factors to which courts may look in the functionality analysis). 12                       The

      configuration of these elements is also dictated by the design’s functional purpose as a

      writing utensil. Indeed, every piece of prior art pertaining to a writing utensil identified by

      the parties which incorporates similar elements does so with the same general

      configuration. See Richardson v. Stanley Works, Inc., 610 F. Supp. 2d 1046, 1049 (D.

      Ariz. 2009) aff’d 597 F.3d 1288 (Fed. Cir. 2010) (finding functional necessity of

      configuration illustrated by the prior art where “[e]very piece of prior art identified by the




      12
         Anders disputes Kemnitzer’s characterization of these elements as functional. See Anders Report ¶ 85.
      For example, Anders contends that the eraser is not functional because there is “no indication that what
      appears to be the eraser portion can actually function to erase chalk,” id. ¶ 85.1. But, this opinion is not
      supported by the record as Lanard promotes the eraser as a “Working Eraser” in the Chalk Pencil’s
      packaging See Hesterberg Decl. ¶ 5, Ex. B; see Richardson, 610 F. Supp. 2d at 1050 (relying on the
      product’s marketing materials to determine functionality of the design). Indeed, to the extent Anders
      disputes Kemnitzer’s characterization of the functional aspects of the D#167 Design simply because the
      Patent itself does not teach those functions, this testimony fails to create an issue of fact. Neither Lanard
      nor Anders cites any authority instructing that the Court may look only to the teachings of the design patent
      to determine whether the design’s features are functional. As a design patent is limited to the ornamental
      aspects of an article of manufacture, one would not expect the design patent itself to teach the functional
      aspects of the product. Thus, Kemnitzer’s testimony regarding the functions served by each element of the
      patented design and Lanard’s own packaging materials provide unrebutted evidence of the functionality
      inherent in the design elements.



                                                         - 29 -
Case 3:15-cv-00849-MMH-PDB Document 468 Filed 03/21/19 Page 30 of 75 PageID 14339




      parties that incorporates similar elements configures them in the exact same way”);

      Ethicon Endo-Surgery, Inc., 796 F.3d at 1334 (finding the design patent did not protect the

      particular functional configuration of the design elements).       In addition, the general

      thickness of the design is also dictated by the functional need to accommodate the larger

      size of sidewalk chalk. See Kemnitzer Report at 16 (“[T]he thicker proportions of the ‘167

      patent are due to it needing to store and hold thick pieces of sidewalk chalk rather than

      narrow pencil leads.”); Anders Dep. at 210-11 (“Q: Do you have any opinions on the extent

      that the size of sidewalk chalk affected any difference in appearance between the Lanard

      chalk pencil and Dixon No. 2 [pencil]? A. Yes, well, sidewalk chalk is larger so the resulted

      product has to be larger.”). Likewise, the circular opening at the tapered end is necessary

      to the device’s function as a writing utensil which utilizes chalk. See Anders Dep. at 216;

      see also Hesterberg Decl., Ex. B (packaging which depicts the user inserting chalk in the

      opening for use as a writing tool). Thus, these broad design concepts are not protected

      by the D#167 Patent. See Ethicon Endo-Surgery, Inc., 796 F.3d at 1333 (“The scope of

      that claim, however, must be limited to the ornamental aspects of the design, and does

      not extend to ‘the broader general design concept.’” (quoting OddzOn Prods., Inc., 122

      F.3d at 1405)).

             Nonetheless, while the functional elements of the patented design are not protected

      on a conceptual level, there is no evidence that the particular ornamental designs adorning

      these elements are essential to the use of the article. See Ethicon Endo-Surgery, Inc.,

      796 F.3d at 1334. For example, the Court can discern no functional reason dictating the

      columnar shape of the eraser, the specific grooved appearance of the ferrule, the smooth

      surface and straight taper of the conical piece, and the specific proportional size of these



                                                 - 30 -
Case 3:15-cv-00849-MMH-PDB Document 468 Filed 03/21/19 Page 31 of 75 PageID 14340




      elements in relation to each other as shown in the D#167 Patent. 13 In keeping with

      Egyptian Goddess, the Court will not attempt any further description of every ornamental

      feature and relies instead on the drawings above, with the understanding that the scope

      of the D#167 Patent is limited to the ornamental aspects of the design, and not the

      underlying functional design elements.             See Ethicon Endo-Surgery, Inc., 796 F.3d at

      1334 (“Thus, although the Design Patents do not protect the general design concept of an

      open trigger, torque knob, and activation button in a particular configuration, they

      nevertheless have some scope—the particular ornamentation designs of those underlying

      elements.”).

              In Egyptian Goddess, the Federal Circuit explained that it may also be helpful to

      point out as part of claim construction “various features of the claimed design as they relate

      to the accused design and the prior art.” See Egyptian Goddess, Inc., 543 F.3d at 680.

      Here, the patent examiner cited fifteen prior patents as references in the D#167 Patent.

      See Lanard Motion, Ex. H. These references include patents for pencils, containers

      shaped to look like pencils, and other hexagonal shaped containers. See Anders Report

      at 40-42. In addition, Defendants identified several other pencil designs which pre-date

      the D#167 Patent, including the Dixon Ticonderoga and SenseMatic pencils, the pencil

      design shown in U.S. Patent No. 1,927,142 (the Van Dorn Patent), and the Giant Pencil

      sold by Pencil Craft. See Kemnitzer Report at 12-14; Choderker Decl. ¶¶ 11-13, Exs. J-




      13
         In addition, the parties dispute whether the hexagonal shape of the body is dictated by function. Compare
      Kemnitzer Report ¶ 28(e) (explaining that the hexagonal shape prevents the device from rolling) with Anders
      Report ¶ 85.4 (arguing that the hexagonal shape is not effective at preventing rolling). Viewing the evidence
      in the light most favorable to Lanard, the Court will accept for purposes of the summary judgment analysis
      that the hexagonal shape of the body is an ornamental feature.



                                                         - 31 -
Case 3:15-cv-00849-MMH-PDB Document 468 Filed 03/21/19 Page 32 of 75 PageID 14341




      L; Flegel Decl., Exs. A-B. Although Lanard emphasizes throughout its briefing that the

      D#167 Patent pertains to a chalk holder specifically, Lanard does not contend that pencils

      and pencil-shaped containers are not appropriately considered as prior art. Accordingly,

      the Court will consider the following prior art designs:




                                                  - 32 -
Case 3:15-cv-00849-MMH-PDB Document 468 Filed 03/21/19 Page 33 of 75 PageID 14342




                                           Cited Prior Art
          The Davis          The Hebron         The McIntyre         The Das Patent
            Patent              Patent             Patent        (Insulated Container for
        (Pencil Ferrule)   (Space-blotting     (Eraser Tip for   Water, Beverages, and
                                writing       Lead Pencils and            Soups)
                             instrument)          the Like)




                                       Uncited Prior Art
             Dixon            Dixon         The Van Dorn            The Giant Pencil
        Ticonderoga #2      SenseMatic          Patent
                                             (Eraser and
                                             Holding Tip)




                                               - 33 -
Case 3:15-cv-00849-MMH-PDB Document 468 Filed 03/21/19 Page 34 of 75 PageID 14343




             As is evident from the above, design features such as a smooth, conical tapered

      end; hexagonal elongated body; cylindrical, grooved ferrule; and columnar eraser are well-

      established in the prior art. In addition, over-sized pencils and over-sized pencil-shaped

      containers are also present in the prior art. Thus, the overall appearance of Lanard’s

      design is distinct from this prior art only in the precise proportions of its various elements

      in relation to each other, the size and ornamentation of the ferrule, and the particular size

      and shape of the conical tapered end. See, e.g., Anders Report at 29 (distinguishing the

      patented design from the Davis Patent based on the length of the tapered end, the

      stoutness of the body, and the shape of the ferrule); id. at 54 (distinguishing the patented

      design from the Giant Pencil based on different overall proportionality, the length of the

      tapered end and ferrule, and the size of the eraser). Lanard concedes that the prior art

      features “similar elements of the Patent,” but maintains that the D#167 is distinct from the

      prior art because “[n]one of the prior art combines the Patent’s unique design with a chalk

      holder.”   See Lanard Response at 10-12, 17.           Lanard’s reliance on this functional

      difference is misplaced.

             Lanard argues that the Court must include in its claim construction both the D#167

      Patent’s illustrations and “its written description that specifies the patent as being a design

      for a chalk holder.” See Lanard Response at 9. This construction of the claim is critical

      to Lanard’s patent infringement argument because it relies heavily on the chalk holder

      function of its design as the overriding point of similarity between the patented design and

      accused design that is absent from the prior art. See Lanard Response at 11, 15; Lanard

      Motion at 31 (describing the D#167 Patent’s novel features as “its combined features as a

      chalk holder with a hexagonal body, cylindroid tip, an eraser and ferrule” (emphasis



                                                  - 34 -
Case 3:15-cv-00849-MMH-PDB Document 468 Filed 03/21/19 Page 35 of 75 PageID 14344




      added)).     To be sure, the article of manufacture to which a design is applied is an

      important component of a design patent. See In re Schnell, 46 F.2d 203, 208 (C.C.P.A.

      1931) (“‘The invention is not the article and is not the design PER SE, but is the design

      APPLIED.’” (internal citation omitted)); Curver Luxembourg, SARL v. Home Expressions

      Inc., No. 2:17-cv-4079-KM-JBC, 2018 WL 340036, at *8 (D.N.J. Jan. 8, 2018). But, to

      the extent Lanard’s argument is that the Court should consider the article of manufacture

      itself as an element of the design separate from its visual appearance, the Court is not

      persuaded.14 Such an argument is inconsistent with the long-standing principle in design

      patent law that “[u]nlike an invention in a utility patent, a patented ornamental design has

      no use other than its visual appearance,” such that “its scope is ‘limited to what is shown

      in the application drawings.’” In re Harvey, 12 F.3d 1061, 1064 (Fed. Cir. 1993) (citing In

      re Glavas, 230 F.2d 447, 450 (C.C.P.A. 1956) and quoting In re Mann, 861 F.2d 1581,

      1582 (Fed. Cir. 1988)); Dyson, Inc., 2018 WL 1906105, at *9; see also Hupp v. Siroflex,

      122 F.3d 1456, 1464 (Fed Cir. 1997) (“A design patent contains no written description; the

      drawings are the claims to the patented subject matter. To infringe a design patent the




      14
        In support of its argument, Lanard relies on a statement in Spencer v. Taco Bell Corp., No. 8:12-cv-387-
      T-23TGW, 2013 WL 5499609, at *2 (M.D. Fla. Oct. 2, 2013), that in “[c]onstruing the claims here, ‘the written
      description requirement for a design patent is applied against a drawing.’” See Lanard Response at 9.
      However, when placed in proper context, this statement does not support, but rather undermines, Lanard’s
      argument. In Spencer, the court was explaining that the “written description” disclosure requirement of 25
      U.S.C. § 112 is accomplished through drawings in the design patent context, because “the sole disclosure
      method [for a design patent] is a drawing.” Id.; see also In re Daniels, 144 F.3d 1452, 1456 (Fed. Cir. 1998).
      While the Spencer court acknowledges that the written text can help describe the drawings, it emphasizes
      that the scope of a design patent is limited to what is depicted in the drawings. See Spencer, 2013 WL
      5499609, at *2-3 & n.6; see also Reddy v. Lowe’s Co., Inc., 60 F. Supp. 3d 249, 256-57 (D. Mass. 2014).
      As the other case on which Lanard relies pertains to utility patents, it is inapposite to the issue here. See
      Lanard Response at 9 (citing Indus. Eng’g & Dev., Inc. v. Static Control Components, Inc., Case No. 8:12-
      cv-691-T-24MAP, 2014 WL 4545857, at *12-13 (M.D. Fla. Sept. 12, 2014)).




                                                          - 35 -
Case 3:15-cv-00849-MMH-PDB Document 468 Filed 03/21/19 Page 36 of 75 PageID 14345




      accused article must appropriate the features of the patented design and its overall

      appearance.”); Reddy v. Lowe’s Co., Inc., 60 F. Supp. 3d 249, 251-52 (D. Mass. 2014)

      (“‘In a design patent application, the subject matter which is claimed is the design

      embodied in or applied to an article of manufacture (or portion thereof) and not the article

      itself.’”) (emphasis added) (quoting Manual of Patent Examining Procedure (9th ed. Rev.

      Mar. 2014) § 1502)).

              Lanard appears to contend that function matters because the patent examiner

      decided to issue the D#167 Patent, despite her awareness of the no. 2 pencil design, and

      thus, must have viewed the application of the pencil design to a chalk holder as the

      distinguishing feature. See Lanard Response at 10-11. Similarly, Lanard points to the

      fact that “design patents are valid and issued for toy designs that evoke different utilitarian

      objects” as evidence that applying an existing design to a different object distinguishes the

      design from the prior art. See Lanard Response at 11. This argument is not persuasive

      as it is based on the hypothetical and entirely speculative assumption that the patent

      examiner issued the design patent based on the new function of the design, rather than its

      unique appearance. 15          Significantly, “[t]he adaptation of old devices or forms to new

      purposes, however convenient, useful, or beautiful they may be in their new role, is not

      invention. . . . [A] person cannot be permitted to select an existing form, and simply put it



      15
         Nor is the Court persuaded by Lanard’s assertion that in the cases on which Defendants rely, the closest
      prior art discussed in the infringement analysis are articles which serve the same function as the subject
      patented design. See Lanard Response at 11. It is undoubtedly true that in most cases the prior art most
      similar to the claimed design will involve an article of the same function. But, in this case, Lanard specifically
      adopted the features of a no. 2 pencil in designing its chalk holder. As such, it is not surprising that the prior
      art most similar to Lanard’s design are pencils. Indeed, the references cited by the patent examiner
      included pencils and pencil-shaped containers, not chalk holders, and Lanard does not dispute that the Court
      can properly consider such objects in its analysis of the prior art.



                                                           - 36 -
Case 3:15-cv-00849-MMH-PDB Document 468 Filed 03/21/19 Page 37 of 75 PageID 14346




      to a new use, any more than he can be permitted to take a patent for the mere double use

      of a machine.” See Smith v. Whitman Saddle Co., 148 U.S. 674, 679 (1893); Phoenix

      Knitting Works v. Hygienic Fleeced Underwear Co., 194 F. 703, 706 (E.D. Pa. 1911)

      (“[T]he mere transferring of an old design to a new and analogous use is not patentable

      design invention.”); Bevin Bros. Mfg. Co. v. Starr Bros. Bell Co., 114 F. 362, 363 (D. Conn.

      1902) (“[T]his design is merely a double use,—is, at most, the adaptation of an old form to

      a new purpose.”); see also Neo-Art, Inc. v. Hawkeye Distilled Prods. Co., 654 F. Supp. 90,

      92 (Fed. Cir. 1987) (“[T]he ‘article of manufacture,’ which [plaintiff] claims is a new and

      original design, is so nearly identical to the article for which it was intentionally designed

      to resemble, that it seems more accurate to describe [plaintiff’s] commercial contribution

      as finding a new use for an old product rather than designing a new product.”). Indeed,

      in Smith, the Supreme Court gave the following examples of designs which were non-

      patentable combinations of old elements:

             the use of a model of the Centennial building for paper weights and ink
             stands; the thrusting of a gas pipe through the leg and arm of the statute of
             a shepherd boy, for the purpose of a drop light; the painting upon a familiar
             vase of a copy of Stuart's portrait of Washington . . . .

      Smith, 148 U.S. at 679.

             As such, the existence of the toy patents on which Lanard relies reflects a

      determination by the patent examiner that the ornamental elements of the “toy” designs

      are distinct from the ornamental elements of the corresponding utilitarian objects. Had

      the patent examiner viewed the visual appearance of these designs as substantially the

      same, differing only in function, the examiner would have rejected such designs as

      anticipated. See In re Glavas, 230 F.2d at 450 (“It is true that the use to which an article




                                                  - 37 -
Case 3:15-cv-00849-MMH-PDB Document 468 Filed 03/21/19 Page 38 of 75 PageID 14347




      is to be put has no bearing on its patentability as a design and that if the prior art discloses

      any article of substantially the same appearance as that of an applicant, it is immaterial

      what the use of such article is.”); see also Black & Decker Inc. v. Pittway Corp., 636 F.

      Supp. 1193, 1196 (N.D. Ill. 1986) (“First, a mere difference in [the prior art’s] function does

      not negate [defendant’s] claim that the [prior art] design anticipates [the claimed design].”).

      Thus, if the Chalk Pencil was no more than a large plastic model of a Dixon SenseMatic

      pencil with chalk grippers on the inside, it would not be a patentable design. See Smith,

      148 U.S. at 679.

              Nonetheless, because the Court need not reach Defendants’ challenge to the

      validity of the D#167 Patent, the Court will assume without deciding that the visual

      appearance of Lanard’s patented design is not substantially similar to the prior art depicted

      above. But, the lack of similarity is not due to the distinct functions of these devices,

      rather it stems from the differences in the ornamental features discussed above. 16

      Lanard’s attempt to use function as an aspect of the design untethered from the visual

      appearance of the design is unavailing.                 With this understanding of the ornamental




      16
         Although he later contradicted himself, even Lanard’s own design expert conceded, at times, that it is not
      the function of the articles that distinguish the D#167 Patent from the prior art but the difference in “overall
      shape and proportions.” Compare Anders Dep. at 94-95 (“Q: Sir, do you agree the Lanard design of the
      167 patent is nearly identical to the design of . . . the Dixon No. 2 [pencil]? A: No. Q. Why not? A. Different
      overall shape and proportions.” Q. Does the fact that they may serve slightly different functions matter? A.
      No, but the design is different.”) and id. at 135 (“My understanding is that this is a new ornamental design
      that was not in the prior art. It has a different shape, proportionality and configuration.”); with id. at 95-96
      (“Q Do you agree, sir, that the fact that [the patented design and prior art] serve slightly different functions,
      markets and needs has nothing to do with whether or not the design of the Dixon No. 2 yellow pencil is
      similar to the design claimed in the 167 patent?” A. Well, I wrote this and I so believe it, otherwise I wouldn’t
      have written it.”); see also Anders Report at 19 (distinguishing the patented design from the Dixon No. 2
      yellow pencil because they have “different overall appearances,” and “serve completely different functions,
      markets, and needs”). To the extent Anders relies on function to distinguish the D#167 Patent from the
      prior art, such opinions are irrelevant and the Court will not consider them.



                                                           - 38 -
Case 3:15-cv-00849-MMH-PDB Document 468 Filed 03/21/19 Page 39 of 75 PageID 14348




      features of the design and how those features relate to the prior art, the Court now turns

      to the question of infringement.

             C. Infringement

             In Egyptian Goddess, the Federal Circuit described a two-stage analysis for

      infringement. See Egyptian Goddess, 543 F.3d at 678. First, “where the claimed and

      accused designs are ‘sufficiently distinct’ and ‘plainly dissimilar,’ the patentee does not

      meet its burden of proving infringement,” and the Court need not resort to an analysis of

      the prior art. See High Point Design LLC v. Buyer’s Direct, Inc., 621 F. App’x 632, 641

      (Fed. Cir. 2015) and Wallace v. Ideavillage Prods. Corp. (Wallace I), 640 F. App’x 970,

      972 (Fed. Cir. 2016) (both citing and quoting Egyptian Goddess, 543 F.3d at 678). If “the

      claimed and accused designs are not plainly dissimilar,” then the analysis proceeds to the

      second stage where it is necessary to compare “the claimed and accused designs with

      prior art to identify differences that are not noticeable in the abstract but would be

      significant to the hypothetical ordinary observer familiar with the prior art.” Ethicon Endo-

      Surgery, 796 F.3d at 1335; Egyptian Goddess, 543 F.3d at 678. In this case, given the

      ubiquity of the no. 2 pencil—the undersigned has several within arm’s reach—it is almost

      impossible to consider these designs without reference to the prior art. Thus, the Court

      will assume without deciding that the two designs are not plainly dissimilar and proceed to

      the second stage of the analysis. Indeed, because the field of writing utensils and pencil-

      shaped containers is crowded, it is both necessary and helpful to rely on the prior art as a

      frame of reference. See Egyptian Goddess, Inc., 543 F.3d at 676-77 (“[I]t can be difficult

      to answer the question whether one thing is like another without being given a frame of

      reference.”); Wallace v. Ideavillage Prods. Corp. (Wallace II), No. 06-CV-5673-JAD, 2014



                                                 - 39 -
Case 3:15-cv-00849-MMH-PDB Document 468 Filed 03/21/19 Page 40 of 75 PageID 14349




      WL 4637216, at *4 (D.N.J. Sept. 15, 2014) (“[S]ince the marketplace for brushes with

      handles is rather crowded, the spirit of Egyptian Goddess wilt be better served by

      introducing prior art into the analysis.”) aff’d 640 F. App’x 970 (Fed. Cir. 2016); Wing Shing

      Prods. (BVI) Co. Ltd. v. Sunbeam Prods., Inc., 665 F. Supp. 2d 357, 363 (S.D.N.Y. 2009)

      (“Here, however, in the cluttered world of the drip-coffeemakers, it seems senseless to

      attempt to determine whether the ordinary observer would confuse two designs without

      looking to the prior art for a point of reference.”) aff’d 374 F. App’x 956 (Fed. Cir. 2010).

             Although infringement is a question of fact, the parties submit competing motions

      for summary judgment on the issue. Lanard insists no reasonable juror could find that

      the two designs are not substantially similar, while Defendants maintain that no reasonable

      juror could find that they are substantially similar. In support of their respective positions,

      the parties rely on the opinions of the design experts Kemnitzer and Anders.                As

      addressed above, while the Court considers each expert’s factual analysis of the

      similarities and differences in the designs, the Court has excluded their ultimate factual

      and legal conclusions on substantial similarity or lack thereof. Significantly, competing

      expert opinions do not necessarily mandate the existence of a genuine dispute of fact on

      the issue of infringement. “[E]xpert testimony ‘cannot create a material issue of fact,

      where [a] visual comparison reveals that the alleged infringing [design] is not substantially

      similar to the [patented] design.’” See Dyson, Inc., 2018 WL 1906105, at *8 (quoting

      Harel v. K.K. Int’l Trading Corp., 994 F. Supp. 2d 276, 284 (E.D.N.Y. 2014)); Wing Shing

      Prods. (BVI) Co. Ltd., 665 F. Supp. 2d at 368; see also Egyptian Goddess, Inc., 543 F.3d

      at 681-82; OddzOn Prods., Inc., 122 F.3d at 1405-06




                                                   - 40 -
Case 3:15-cv-00849-MMH-PDB Document 468 Filed 03/21/19 Page 41 of 75 PageID 14350




             To determine whether or not these designs are substantially similar, “[t]he proper

      comparison requires a side-by-side view of the drawings of the [D#167] patent design and

      the accused products.” See Crocs, Inc., 598 F.3d at 1304. A side-by-side view of the

      two designs is set forth below:




      Plainly, the patented design and the accused design share a broad design concept—they

      are both chalk holders designed to look like a no. 2 pencil—and thus, at a conceptual level

      they look quite similar. The problem for Lanard, however, is that the design similarities

      stem from aspects of the design that are either functional or well-established in the prior

      art.   As stated above, the conceptual elements of the design and their particular

      configuration are functional. And, as to the ornamental aspects of these elements, the

      columnar shape of the eraser, the hexagonal shape of the body, and the cylindrical

      grooved appearance of the ferrule are common design features of no. 2 pencils. Thus,

      while the ordinary observer will easily recognize both of these chalk holders as using a no.

      2 pencil design, this does not mean the ordinary observer will be deceived into believing

      they are using the same design. Rather, the attention of the ordinary observer “will be




                                                 - 41 -
Case 3:15-cv-00849-MMH-PDB Document 468 Filed 03/21/19 Page 42 of 75 PageID 14351




      drawn to those aspects of the claimed design that differ from the prior art.” See Egyptian

      Goddess, 543 F.3d at 676. As stated above, Lanard’s design differs from the prior art in

      the precise proportions of its elements, the size of the ferrule and the specific design of its

      grooves, and the particular size and shape of the conical end.

              With this frame of reference, the distinctions between the patented and accused

      designs are readily apparent. First, the proportions of the designs are different. The

      overall appearance of the D#167 design is more slender and elongated, while the Ja-Ru




      Chalk Holder has a thicker, more stunted, appearance. In addition, the appearance of

      the conical tapered portion of the designs are distinct, with the Ja-Ru Chalk Holder

      employing a shorter, sloping taper with ridges along the surface and a wide opening, while

      the patented design has a longer, straighter taper, narrower opening and smooth surface.

      And, perhaps most prominently, the appearance of the ferrules in each design is different.

      The ferrule on the patented design has three horizontal ridges in the center, while the

      ferrule on the accused design has a series of vertical lines in the center, with two horizontal

      ridges at the top and bottom of the vertical lines, as depicted here.17




      17
        While the undersigned recognizes that courts do not engage in an element-by-element analysis or
      consider any element in isolation, the quality of the photographs, or lack thereof, requires a close view to
      adequately depict what would be readily visible to an ordinary observer viewing the actual objects.




                                                         - 42 -
Case 3:15-cv-00849-MMH-PDB Document 468 Filed 03/21/19 Page 43 of 75 PageID 14352




      While the ferrules are similar in that they both appear to be shortened versions of the

      cylindrical, crimped ferrules common in no. 2 pencils, the patented design is more akin to

      a cut-off version of the Davis Patent, while the accused design appears to be a condensed

      version of the ferrule utilized with the Hebron Patent and Dixon pencils. See supra p.33.

      Given that the ordinary observer is familiar with the great number of no. 2 pencil designs

      in the prior art, it is these features that dominate the overall appearance of the patented

      and accused designs.            Wing Shing Prods. (BVI) Co. Ltd, 665 F. Supp. 2d at 367

      (acknowledging that courts should not engage in an element-by-element comparison, but

      finding that “when the prior art is used as a ‘frame of reference,’ the tops and bases of the

      devices in question dominate the overall visual impressions they make.” (internal citation

      omitted)); see also Elmer, 67 F.3d at 1577-78.

              Lanard dismisses these differences in the appearance of the two designs as

      inconsequential, minor differences.18 In support, Lanard relies on Anders who concedes

      that differences in the designs exist, including the ones the Court identified above, but

      maintains that an ordinary observer would be unaware of these “microscopic differences.”

      See Anders Report at 36.19 Instead, Lanard contends that the broader similarity between



      18
         Lanard also relies on the “doctrine of equivalents” to argue that the minor differences between the two
      designs do not prevent a finding of infringement. See Lanard Response at 14-15. Because the “doctrine
      of equivalents” is subsumed within the substantial similarity analysis, the Court need not conduct a separate
      analysis on this issue. See Minka Lighting, Inc. v. Craftmade Int’l, Inc., 93 F. App’x 214, 217 (Fed. Cir.
      2004) (“The substantial similarity test by its nature subsumes a doctrine of equivalents analysis.”) (citing Lee
      v. Dayton-Hudson Corp., 838 F.2d 1186, 1189-90 (Fed Cir. 1988)).
      19
         As the Court easily observed the design differences identified above, without the aid of a microscope or
      other instrument, Anders’ dismissal of any differences between the two designs as “microscopic” is without
      factual support. However, the Court does find that several of the differences which Kemnitzer identified in
      his Report would not be readily apparent to an ordinary observer when their impact on the overall design is
      considered. For example, the slight differences between the two designs when viewed directly from the top
      and bottom, as depicted in figures 4 and 5 of the D#167 Patent, have little to no impact on the overall



                                                          - 43 -
Case 3:15-cv-00849-MMH-PDB Document 468 Filed 03/21/19 Page 44 of 75 PageID 14353




      the two designs—the presence of a conical tapered end, hexagonal body, ferrule, and

      eraser of similar proportions—is sufficient to satisfy the ordinary observer test. Anders

      opines that the features of these two designs “are substantially similar in size,

      proportionality and relationship to each other and the whole.” See Anders Report at 45-

      50.   This argument is unavailing, however, because such “high-level” similarities are

      insufficient to demonstrate infringement. See High Point Design LLC, 621 F. App’x at

      642 (“We recognize that both designs essentially consist of a slipper with a fuzzy portion

      extending upward out of the foot opening. Such high-level similarities, however, are not

      sufficient to demonstrate infringement.”); Ethicon Endo-Surgery, Inc., 796 F.3d at 1336

      (“Similarity at this conceptual level, however, is not sufficient to demonstrate infringement

      of the claimed designs.”). Indeed, Anders’ analysis has little probative value because he

      fails to distinguish between the similarity arising from the unprotected design concept, and

      any purported similarity arising from the ornamental features of the design. 20                           See

      OddzOn Prods., Inc., 122 F.3d at 1405-06. When one excludes the functional design

      elements from the scope of the design claim at the conceptual level, and places the

      ornamental aspects of the designs in context of the prior art, the differences between the




      appearance of the two products, especially when one considers how an ordinary observer would perceive
      the designs from that angle during the normal use of the products. Likewise, the Court, and presumably
      the ordinary observer, struggles to perceive the difference in the seams which separate the body from the
      tapered piece in each design. See Kemnitzer Report at 26-27. And, while the top of one eraser is convex
      and the other is flat, this subtle difference has little impact on the overall appearance of the two designs. As
      such, the Court does not consider these differences in its infringement analysis above.
      20
         For the same reason, Lanard’s reliance on the comments of the judge who presided over the preliminary
      injunction hearing prior to the transfer of this case is misplaced. The judge’s references to the similarity of
      the “coloring” and “components” of the designs make clear that her assessment was based, at least in part,
      on aspects of the design that are not protected by the D#167 Patent. See Transcript of May 14, 2014
      Preliminary Injunction Hearing (Doc. 47) at 35. And indeed, the predecessor court denied the request for
      preliminary injunction based on a lack of irreparable harm, such that it simply assumed without deciding that
      Lanard had established a substantial likelihood of success on infringement. See id. at 36-37.



                                                          - 44 -
Case 3:15-cv-00849-MMH-PDB Document 468 Filed 03/21/19 Page 45 of 75 PageID 14354




      patented and accused design take on greater significance. See Egyptian Goddess, Inc.,

      543 F.3d at 683 (“When considering the prior art in the nail buffer field, this difference

      between the accused design and the patented design cannot be considered minor.”); Wing

      Shing Prods. (BVI) Co. Ltd., 665 F. Supp. 2d at 367 (“As Egyptian Goddess itself

      recognized, where a particular design element sharply distinguishes, against the context

      of the prior art, the claimed design from the accused design, it is not error to focus on that

      element in the infringement analysis.”); see also Ethicon Endo-Surgery, 796 F.3d at 1336.

      Because Anders fails to employ the correct frame of reference, his opinions are insufficient

      to create an issue of fact, and Lanard cites no other evidence that the differences between

      the two designs would not be immediately apparent to any ordinary observer familiar with

      the design of no. 2 pencils and no. 2 pencil-shaped objects.

             Likewise, Lanard’s reliance on the similar “proportions” of the patented and accused

      designs, as distinguishable from the prior art, to establish substantial similarity is

      problematic because the relative size and thickness of the designs as compared to no. 2

      pencils is a functional modification necessary to accomplish the chalk holder function of

      the devices. See Kemnitzer Report at 16 (“[T]he thicker proportions of the ‘167 patent

      are due to it needing to store and hold thick pieces of sidewalk chalk rather than narrow

      pencil leads.”); Anders Dep. at 210-11 (“Q: Do you have any opinions on the extent that

      the size of sidewalk chalk affected any difference in appearance between the Lanard chalk

      pencil and Dixon No. 2? A. Yes, well, sidewalk chalk is larger so the resulted product has

      to be larger.”). Aside from the fact that both designs are thicker than a standard no. 2

      pencil in order to accommodate sidewalk chalk, the specific proportions of the patented

      and accused designs are visibly distinct, as the Court observed above, and provide



                                                  - 45 -
Case 3:15-cv-00849-MMH-PDB Document 468 Filed 03/21/19 Page 46 of 75 PageID 14355




      different visual impressions. Moreover, over-sized pencils are present in the prior art as

      well–both as a design feature necessary to allow for internal storage, as in the Das Patent,

      and as a feature to promote novelty, as in the Giant Pencil.21 Indeed, it appears to the

      Court that the overall proportions of the patented design are as similar to the Giant Pencil

      as they are to the accused design. Thus, an ordinary observer would not be deceived

      into thinking the patented and accused designs are the same simply because they are

      both in the shape of over-sized pencils.

              Here, Lanard’s patented design consists of no more than “bringing together old

      elements,” the conical tapered end, the hexagonal body, the ferrule, the columnar eraser,

      “with slight modifications of form,” to create its unique pencil-shaped chalk holder design.

      See Minka Lighting, Inc. v. Maxim Lighting Int’l, Inc., No. 3:06-CV-995-K, 2009 WL 691594,

      at *6 (N.D. Tex. Mar. 16, 2009). This design is not infringed by Ja-Ru using “‘the same

      elements with [its] own variations of form,’” because the accused design “‘is distinguishable



      21
        During his deposition, Anders compared the Lanard Chalk Pencil to the Giant Pencil as follows:
               First of all, this is made of wood with, I assume, a pencil lead embedded in the center and
               there’s no such teaching in the patent or in the Lanard product itself. The eraser is similar.
               And the ferrule is somewhat similar. And the overall shape of the body and the size of the
               body is somewhat similar also. But it’s the combination of all of these things, particularly
               the fact that this is a pencil with a sharpened point where this has a removable collar that
               basically comes to a flat area which is not depicted. So this is a chalk holder and this is a
               pencil, two different structures having different ornamental appearances.
      See Anders Dep. at 214-15 (emphasis added). Anders goes on to state that the Chalk Pencil and Giant
      Pencil are not substantially similar because “[t]here are, of course, differences in the size of the eraser and
      the size of the ferrule, but the biggest difference is the fact that the pencil has a sharpened cone at the front,
      whereas the 167 design has a separate element which in [sic] the pencil doesn’t have.” Id. at 222.
      Significantly, Anders does not point to any difference in the thickness or proportions of the body. Rather,
      he relies primarily on functional differences to distinguish the patented design from the Giant Pencil.
      Specifically, Anders repeatedly points to the truncated, separate conical element of the patented design.
      However, the conical element is truncated to allow for the insertion of chalk, see Anders Dep. at 216, and its
      design as a separate piece from the body functions to allow the user to twist the piece and tighten the chalk
      mechanism. See Hesterberg Decl., Ex. B. Significantly, the truncated conical element on the patented
      design is visually distinct from the truncated conical element on the accused design—most obviously due to
      the ridges on the accused design, but also in the length of the slope and shape of the taper.



                                                           - 46 -
Case 3:15-cv-00849-MMH-PDB Document 468 Filed 03/21/19 Page 47 of 75 PageID 14356




      by the ordinary observer from the patented design.’” See id. (quoting Zidell v. Dexter,

      262 F. 145, 146 (9th Cir. 1920)); see also Egyptian Goddess, Inc., 543 F.3d at 674.

      Based on the evidence presented, no reasonable fact finder could find that Lanard has

      met its burden of showing that “an ordinary observer, taking into account the prior art,

      would believe the accused design to be the same as the patented design.” Egyptian

      Goddess, 543 F.3d at 682 (emphasis added); OddzOn Prods., Inc., 122 F.3d at 1399-1400

      (affirming summary judgment of noninfringement concerning two rocket-shaped tossing

      balls where “overall similarity” was not based on the ornamental features of the design);

      High Point Design LLC, 621 F. App’x at 640-42 (affirming summary judgment of

      noninfringement between two slipper designs with a fuzzy opening for the foot where the

      curves and slopes of the shoes were dissimilar); Ethicon Endo-Surgery, Inc., 796 F.3d at

      1336 (finding similarity at the conceptual level insufficient to demonstrate infringement);

      Wallace, 640 F. App’x at 972-75; cf. Crocs, Inc., 598 F.3d at 1306 (“In one comparison

      after another, the shoes appear nearly identical. If the claimed design and the accused

      designs were arrayed in matching colors and mixed up randomly, this court is not confident

      that an ordinary observer could properly restore them to their original order without very

      careful and prolonged effort.”). To conclude otherwise despite the dissimilarities in the

      two designs, would improperly broaden the scope of Lanard’s patent to include all chalk

      holders that incorporate a pencil design. See In re Mann, 861 F.2d at 1582 (“Design

      patents have almost no scope.”); Minka Lighting, Inc. v. Maxim Lighting Int’l, Inc., 2009 WL

      691594, at *8 (“Were the Court to find infringement by Defendants’ dissimilar product, it

      would effectively broaden the scope of Plaintiff’s patent to cover all lamp support arms that




                                                 - 47 -
Case 3:15-cv-00849-MMH-PDB Document 468 Filed 03/21/19 Page 48 of 75 PageID 14357




      incorporate a scroll design.”). While Lanard might desire such an outcome, that is not

      what Lanard is entitled to under the D#167 Patent.

             In light of the foregoing, the Court determines that Defendants are entitled to

      summary judgment in their favor on the issue of infringement. This finding resolves the

      patent dispute between the parties and the Court cannot discern any added benefit from

      resolving the issue of invalidity raised in Defendants’ Counterclaims. Indeed, in their briefs,

      when analyzing the prior art, Defendants often argued that to the extent the patented

      design is distinguishable from the prior art, and thus not anticipated, it is likewise

      distinguishable from the accused design, and thus not infringed.                  Accordingly,

      Defendants maintain that these were “distinction[s] without a difference to the instant case

      . . . [e]ither way, Lanard’s patent claim fails.” See Defendants Motion at 18, 20.       Thus,

      it appears to make no difference to Defendants on which point the Court ruled in resolving

      the patent dispute, and indeed, Defendants did not move for summary judgment on their

      invalidity Counterclaims. Accordingly, the Court will exercise its discretion to dismiss

      Defendants’ Counterclaims for patent invalidity without prejudice. See Phonometrics,

      Inc. v. No. Telecom Inc., 133 F.3d 1459, 1468 (Fed. Cir. 1998) (“We have previously held

      that a district court has discretion to dismiss a counterclaim alleging that a patent is invalid

      as moot where it finds no infringement.”); Voter Verified, Inc. v. Premier Election Solutions,

      Inc., No. 6:09-cv-1968-Orl-19KRS, 2011 WL 3268576, at *1-2 (M.D. Fla. July 29, 2011);

      Astrazeneca LP v. Breath Ltd., 542 F. App’x 971, 981-82 (Fed. Cir. 2013). As such,

      Lanard’s request for summary judgment in its favor on Defendants’ Counterclaims for

      patent invalidity is denied as moot.




                                                   - 48 -
Case 3:15-cv-00849-MMH-PDB Document 468 Filed 03/21/19 Page 49 of 75 PageID 14358




      VI.    Copyright

             A. Applicable Law

             The Copyright Act of 1976 extends copyright protection to “original works of

      authorship fixed in any tangible medium of expression . . . ” and defines “work of

      authorship” to include “(5) pictorial, graphic, and sculptural works.” See 17 U.S.C. §

      102(a)(5).   Sculptural works include “three-dimensional works of fine, graphic, and

      applied art,” however only “insofar as their form but not their mechanical or utilitarian

      aspects are concerned.”       Id. § 101.    The Copyright Act includes a “special rule for

      copyrighting a pictorial, graphic, or sculptural work incorporated into a ‘useful article.’”

      See Star Athletica, L.L.C. v. Varsity Brands, Inc., 137 S. Ct. 1002, 1008 (Mar. 22, 2017).

      A ‘useful article’ is one “having an intrinsic utilitarian function that is not merely to portray

      the appearance of the article or to convey information.” 17 U.S.C. § 101. Although “useful

      articles” themselves are not subject to copyright protection, the design of a useful article

      may be protected as a pictorial, graphic, or sculptural work, but “only if, and only to the

      extent that, such design incorporates pictorial, graphic, or sculptural features that can be

      identified separately from, and are capable of existing independently of, the utilitarian

      aspects of the article.” See id. (emphasis added). This reflects Congress’ decision to

      provide copyright protection “for original works of art, but not for industrial design.” Star

      Athletica, 137 S. Ct. at 1007.

             “Additionally, copyright protection extends only to the original elements of

      expression in a work: ‘The mere fact that a work is copyrighted does not mean that every

      element of the work may be protected.’” Baby Buddies, Inc. v. Toys “R” Us, Inc., 611

      F.3d 1308, 1316 (11th Cir. 2010) (quoting Feist Publ’ns, Inc. v. Rural Telephone Serv. Co.,



                                                   - 49 -
Case 3:15-cv-00849-MMH-PDB Document 468 Filed 03/21/19 Page 50 of 75 PageID 14359




      Inc., 499 U.S. 340, 348 (1991)). Nonetheless, “[t]o merit protection from copying, a work

      need not be particularly novel or unusual.” See Mattel, Inc. v. Goldberger Doll Mfg. Co.,

      365 F.3d 133, 135 (2d Cir. 2004).       All that is required to demonstrate copyrightable

      originality is “‘independent creation’ by the author ‘plus a modicum of creativity.’” See

      Home Legend, LLC v. Mannington Mills, Inc., 784 F.3d 1404, 1409 (11th Cir. 2015)

      (quoting Feist Publ’ns, Inc., 499 U.S. at 346). Indeed, the “requisite level of creativity is

      extremely low; even a slight amount will suffice,” and “[t]he vast majority of works make

      the grade quite easily, as they possess some creative spark, ‘no matter how crude, humble

      or obvious’ it might be.” Feist Publ’ns, Inc., 499 U.S. at 340 (quoting 1 M. Nimmer & D.

      Nimmer, Copyright § 1.08 [C][1] (1990)).

             “Equally fundamentally, ‘[i]n no case does copyright protection for an original work

      of authorship extend to any idea.’” Baby Buddies, Inc., 611 F.3d at 1316 (quoting 17

      U.S.C. § 102(b)).     Rather, the copyright only protects “the author’s particularized

      expression of the idea.” See Mattel, Inc., 365 F.3d at 135-36. This concept is known as

      the “idea/expression dichotomy” and “lets the author profit from his particular expression

      while ensuring that the author’s raw ideas are immediately available for use in the public

      domain.” Baby Buddies, Inc., 611 F.3d at 1313 n.15; see Oravec v. Sunny Isles Luxury

      Ventures, L.C., 527 F.3d 1218, 1224 (11th Cir. 2008) (“In identifying the protected

      elements of a plaintiff’s work, the court must be mindful of the fundamental axiom that

      copyright protection does not extend to ideas but only to particular expressions of ideas.”).

             To establish infringement of a copyright, “two elements must be proven: (1)

      ownership of a valid copyright, and (2) copying of constituent elements of the work that are

      original.’” See Baby Buddies, Inc., 611 F.3d at 1315 (quoting Feist Publ’ns, Inc., 499 U.S.



                                                 - 50 -
Case 3:15-cv-00849-MMH-PDB Document 468 Filed 03/21/19 Page 51 of 75 PageID 14360




      at 361). “The plaintiff can prove copying either directly or indirectly, by establishing that

      the defendant had access, and produced something ‘substantially similar,’ to the

      copyrighted work.” See Leigh v. Warner Bros., Inc., 212 F.3d 1210, 1214 (11th Cir.

      2000). However, “[n]o matter how the copying is proved, the plaintiff also must establish

      specifically that the allegedly infringing work is substantially similar to the plaintiff’s work

      with regard to its protected elements.” Id.; see also Davidson v. United States, 138 Fed.

      Cl. 159, 172 (Fed. Cl. 2018) (“A necessary element to any infringement claim is not just

      that the work as a whole is original but also that the part copied by the defendant actually

      be original.”). An allegedly infringing work is “substantially similar” to a copyrighted work

      where “‘an average lay observer would recognize the alleged copy as having been

      appropriated from the copyrighted work.’” See Leigh, 212 F.3d at 1214 (quoting Original

      Appalachian Artworks, Inc. v. Toy Loft, Inc., 684 F.2d 821, 829 (11th Cir. 1982)). Here,

      as in many copyright infringement cases, “the issue of infringement is intertwined with the

      issue of determining which parts of the work are actually protected by the copyright . . . .”

      See Baby Buddies, Inc., 611 F.3d at 1314. Thus, while infringement is an issue of fact,

      “‘[n]on-infringement may be determined as a matter of law on a motion for summary

      judgment, either because the similarity between two works concerns only non-

      copyrightable elements of the plaintiff’s work, or because no reasonable jury, properly

      instructed, could find that the two works are substantially similar.’” See Baby Buddies,

      Inc., 611 F.3d at 1314 (quoting Oravec, 527 F.3d at 1223).

             B. Discussion

             Defendants challenge Lanard’s copyright infringement claim on both prongs.

      Defendants maintain that Lanard’s copyright registration is invalid because there is no



                                                   - 51 -
Case 3:15-cv-00849-MMH-PDB Document 468 Filed 03/21/19 Page 52 of 75 PageID 14361




      “distinguishable variation” between Lanard’s copyrighted design and the pre-existing

      pencil design in the public domain. In addition, Defendants contend that the copyright is

      invalid because Lanard’s Chalk Pencil is a useful article. Defendants further contend that

      even if the copyright is valid, the Ja-Ru Chalk Holder does not infringe the copyright

      because Ja-Ru did not copy the limited protectable aspects of the design.                                Indeed,

      Defendants maintain that while it may have copied the idea of a pencil-shaped chalk

      holder, it did not copy Lanard’s particular expression of that idea.

              Lanard maintains that Defendants fail to rebut the presumption of validity arising

      out of its copyright registration. According to Lanard, its Chalk Pencil is an original work,

      sufficiently distinct from the appearance of a no. 2 pencil to be entitled to copyright

      protection.22 See Lanard Motion at 21. Lanard describes the Chalk Pencil as a “giant,

      oversized pencil-inspired toy, which renders it a fanciful cartoon or version of a traditional



      22
         The Court rejects Lanard’s nonsensical argument that the Chalk Pencil cannot be derivative of the no. 2
      pencil as a matter of law because the no. 2 pencil design is in the public domain. See Lanard Response at
      18-19. Plainly, a work can be derivative of material existing in the public domain. Sherry Mfg. Co., Inc. v.
      Towel King of Fla., Inc., 753 F.2d 1565, 1565, 1568-69 (11th Cir. 1985) (discussing whether a towel design
      was sufficiently original to be copyrightable when compared to a pre-existing design in the public domain).
      And Lanard’s Chalk Pencil is indisputably derivative of the public domain no. 2 pencil design as Lanard
      admits that it specifically designed the Chalk Pencil to look like a no. 2 pencil and plainly “recast, transformed,
      or adapted” the pencil into a chalk holder. See 17 U.S.C. § 101 (defining a “derivative work” as a “work
      based upon one or more preexisting works, such as . . . [an] art reproduction, abridgment, condensation, or
      any other form in which a work may be recast, transformed, or adapted.”); see also Williams Dep at 28, 39-
      40 (explaining that he was told to make the Chalk Pencil prototype look like a pencil and that he looked at
      pencils in the work shop when making the prototype); Hesterberg Decl. ¶ 5 (stating that the design of
      Lanard’s chalk holder evolved “into a design that evokes the distinctive appearance of a pencil found in
      children’s schools, on a larger scale”). Nevertheless, to the extent any aspects of Lanard’s Chalk Pencil
      are original, those aspects are copyrightable. See Home Legend, LLC v. Mannington Mills, Inc., 784 F.3d
      1404, 1409-11, 1414 (11th Cir. 2015) (“Because much of the expression in Mannington’s finished Glazed
      Maple design still reflects the uncopyrightable features of each plank—features like the shape of the natural
      underlying wood grain and the plank’s shape, both of which are in the public domain—Mannington’s
      copyright gives it the limited protection of a derivative work.”); see also 17 U.S.C. § 103(b) (“The copyright
      in a compilation or derivative work extends only to the material contributed by the author of such work, as
      distinguished from the preexisting material employed in the work, and does not imply any exclusive right in
      the preexisting material.”).




                                                            - 52 -
Case 3:15-cv-00849-MMH-PDB Document 468 Filed 03/21/19 Page 53 of 75 PageID 14362




      pencil.” See Lanard Motion at 21. Because the Chalk Pencil does not write as precisely

      as a traditional pencil and given that there are numerous designs for a chalk holder that

      do not look like pencils, Lanard contends that the Chalk Pencil is not a “useful article.”

      See Lanard Motion at 21; Lanard Response at 20. Lanard also contends that it is entitled

      to summary judgment on copyright infringement because the two designs are nearly

      identical “in shape and design . . . .” See Lanard Motion at 26; Lanard Response at 21.

      The two designs relevant to the copyright analysis are depicted below:

                    Copyrighted Work23                                      Accused Product




              Lanard’s Certificate of Registration for the Chalk Pencil, made within five years after

      first publication of the work, is “prima facie evidence of the validity of the copyright,” see

      17 U.S.C. § 410(c), including “the requirements of originality and susceptibility to copyright



      23
         Because the pictures of the Chalk Pencil deposited with the Copyright Office are dark and difficult to see,
      the Court declines to use those pictures to conduct its analysis. See Hesterberg Decl., Ex. D. The parties
      do not dispute that the Chalk Pencil as depicted above is the work for which Lanard obtained the Certificate
      of Registration. See Hesterberg Decl. ¶¶ 5-10. Although not discernible from the pictures above, the
      products are different sizes, as the Chalk Pencil is significantly longer than the Ja-Ru Chalk Holder. See
      Kemnitzer Report at 30; see also Declaration of Richard P. Sybert in Support of Lanard’s Motion for Partial
      Summary Judgment (Doc. 299-3; Sybert Decl.), Ex. Q.



                                                         - 53 -
Case 3:15-cv-00849-MMH-PDB Document 468 Filed 03/21/19 Page 54 of 75 PageID 14363




      under 17 U.S.C. § 102(a).” See Donald Frederick Evans & Assocs., Inc. v. Continental

      Homes, Inc., 785 F.2d 897, 903 (11th Cir. 1986). However, the Certificate of Registration

      “is not conclusive on the copyright ownership issue,” rather it shifts the burden to

      defendants “‘to establish that the work in which the copyright is claimed is unprotectable .

      . . .’” See Progressive Lighting, Inc. v. Lowe’s Home Ctrs., Inc., 549 F. App’x 913, 918

      (11th Cir. 2013) (quoting Latimer v. Roaring Toyz, Inc., 601 F.3d 1224, 1233 (11th Cir.

      2010)). “‘[T]o rebut the presumption of validity, an infringement defendant must simply

      offer some evidence or proof to dispute or deny the plaintiff’s prima facie case of

      infringement’” Id. (quoting United Fabrics Int’l, Inc. v. C & J Wear, Inc., 630 F.3d 1255,

      1257 (9th Cir. 2011)).

              Defendants attempt to rebut the presumption of validity by arguing that the Chalk

      Pencil is not sufficiently distinguishable from the preexisting no. 2 pencil design in the

      public domain. Notably, Lanard’s design does copy to a significant degree elements

      found in the prior art, such as the yellow, hexagonal body of a no. 2 pencil with a silver,

      grooved ferrule, pink columnar eraser, and tapering to hold a writing medium.24 However,

      “the originality requirement is a low bar,” and all that is required is that “the work possess

      ‘some creative spark, no matter how crude, humble or obvious.’” See Home Legend,




      24
         Lanard asserts that “in contrast” to its Chalk Pencil, a no. 2 pencil includes the following elements: “yellow
      color, six sides, made of wood, graphite or lead interior, metal top before the eraser, pink eraser, may be
      sharpened, approximately eight inches long with a diameter of about 1/8 inch. Sometimes the pencils have
      a manufacturer’s identity, place of manufacture, and ‘No. 2’ or ‘2’ in a black circle written on one side.” See
      Lanard Response at 19. This list is confusing given that the Chalk Pencil is also yellow in color with six
      sides, a ‘2’ in a black circle written on one side, and a pink eraser. Likewise, Lanard’s reliance on the
      material of construction, wood and metal vs. plastic, as a point of distinction is misplaced. See L. Batlin &
      Sons, Inc. v. Snyder, 536 F.2d 486, 491 (2d Cir. 1976) (“[T]o support a copyright there must be at least some
      substantial variation, not merely a trivial variation such as might occur in the translation to a different
      medium.”).



                                                           - 54 -
Case 3:15-cv-00849-MMH-PDB Document 468 Filed 03/21/19 Page 55 of 75 PageID 14364




      LLC, 784 F.3d at 1409 (quoting Feist Publ’ns, 499 U.S. at 345); see also Progressive

      Lighting, Inc., 549 F. App’x at 920 n.5 (“Although a conventional fleur-de-lis is certainly not

      eligible for copyright protection, a design is not automatically deprived of copyright

      protection because it derives from a design in the public domain.”). Although Lanard’s

      designer admits that he chose a number of the design features because they were

      “common,” viewing the evidence in the light most favorable to Lanard, a reasonable juror

      could conclude that he independently created some features of the Chalk Pencil design.

      See Williams Dep. at 32-47. And, given the low threshold for originality, Lanard’s design

      appears to evidence the “‘modicum of creativity’” necessary to warrant protection. See

      Home Legend, LLC, 784 F.3d at 1409 (quoting Feist Publ’ns, 499 U.S. at 346).

      Nonetheless, the limited protection its copyright affords “is not particularly strong” given

      that much of the expression in the Chalk Pencil still reflects the uncopyrightable features

      of the no. 2 pencil in the public domain. See Home Legend, LLC, 784 F.3d at 1409;

      Progressive Lighting, Inc., 549 F. App’x at 920 n.5 (finding that to the extent the works at

      issue, derived from the public domain design of a fleur-de-lis, were entitled to copyright

      protection at all, “they only deserve ‘thin’ protection—they are copyrightable only for their

      specific stylized rendering of a conventional fleur-de-lis,” meaning they only protect against

      “virtually identical copying”).

             Defendants also argue that Lanard’s copyright is invalid in its entirety because the

      Chalk Pencil is a “useful article.” See Defendants Motion at 22-24. In response, Lanard

      maintains that the Chalk Pencil “is inherently a non-functional toy . . . .” See Lanard

      Response at 19-20. Viewing the evidence in the light most favorable to Lanard, the Chalk

      Pencil has two purposes—the utilitarian purpose of storing and holding chalk to facilitate



                                                  - 55 -
Case 3:15-cv-00849-MMH-PDB Document 468 Filed 03/21/19 Page 56 of 75 PageID 14365




      writing, and the artistic purpose of evoking a cartoonish pencil to delight children. Lanard

      contends that this latter purpose renders the design of the Chalk Pencil a protectable

      sculptural work, and not a useful article. However, as discussed below, the artistic design

      of Lanard’s Chalk Pencil is protectable only to the extent that it is “separable” from the

      useful article (i.e., chalk holder) in which it is incorporated.

             A useful article is “an article having an intrinsic utilitarian function that is not merely

      to portray the appearance of the article or to convey information.” See 17 US.C. § 101.

      To the extent Lanard contends that the Chalk Pencil is not a useful article simply because

      it is intended as a toy for children, this argument is not persuasive. While the Chalk Pencil

      may be a toy, it is nevertheless a toy with the intrinsic utilitarian function of storing and

      holding chalk to facilitate writing or drawing.        See Hesterberg Decl. ¶ 4.         Indeed,

      Lanard’s packaging for the Chalk Pencil instructs the user how to insert chalk into the

      device, depicts a person’s hand using the Chalk Pencil to draw on the sidewalk, and touts

      a “working eraser.” See id., Ex. B. The Chalk Pencil is not like a toy which is designed

      only to portray the appearance of another object, with no function other than in a child’s

      imagination. Compare Gay Toys, Inc. v. Buddy L Corp., 703 F.2d 970, 973 (6th Cir. 1983)

      (“To be sure, a toy airplane is to be played with and enjoyed, but . . . [o]ther than the

      portrayal of a real airplane, a toy airplane, like a painting, has no intrinsic utilitarian

      function.”); Mattel, Inc. v. MGA Entm’t, Inc., 616 F.3d 904, 916 n.12 (9th Cir. 2010)

      (explaining that doll clothes are not “useful articles” because they are “intended only to

      portray the appearance of clothing” and have no utilitarian function given that “[d]olls don’t

      feel cold or worry about modesty”). Nor is the Chalk Pencil designed merely to “simulate”

      writing. Compare Lanard Toys Ltd. v. Novelty, Inc., 375 F. App’x 705, 710 (9th Cir. 2010)



                                                    - 56 -
Case 3:15-cv-00849-MMH-PDB Document 468 Filed 03/21/19 Page 57 of 75 PageID 14366




      (“A child can make the toy ‘copters’ fly high into the air, but that ‘flight’ is simply a portrayal

      of the real objects, and the toys are not capable of actually flying, or transporting people

      or supplies, like real helicopters.”). Children do not hold the Chalk Pencil and imagine

      using it to draw, children can, and are intended to, actually draw with the device. While

      the over-sized design may render the Chalk Pencil an inefficient tool for writing as Lanard

      maintains, “the efficiency of a utilitarian article is irrelevant for copyright purposes.” See

      Norris Indus., Inc. v. Int’l Tel. & Tel. Corp., 696 F.2d 918, 922 n.8 (11th Cir. 1983). Thus,

      the undisputed evidence demonstrates that the Chalk Pencil is a “useful article.”

             The more pertinent question in this case is whether the Chalk Pencil incorporates

      features, specifically its pencil design, that are sufficiently “separable” from its utilitarian

      purpose to be eligible for copyright protection. See Star Athletica, L.L.C., 137 S. Ct. at

      1008 (explaining that design features of a useful article “‘that can be identified separately

      from, and are capable of existing independently of, the utilitarian aspects of the article’”

      may be copyrighted (quoting 17 U.S.C. § 101)). Significantly, “to qualify as a pictorial,

      graphic, or sculptural work on its own, the feature cannot itself be a useful article or ‘[a]n

      article that is normally a part of a useful article’ (which is itself considered a useful article).”

      Id. at 1010 (quoting 17 U.S.C. § 101)). In Star Athletica, the works at issue were two-

      dimensional lines, chevrons and shapes applied to cheerleading uniforms. Id. at 1008-

      09. The Court found those “surface decorations” of the cheerleading uniforms qualified

      as two-dimensional applied art, separable from the uniforms themselves, and therefore

      protectable.    Id. at 1012-13.     The Star Athletica Court explained that “imaginatively

      removing the surface decorations from the uniforms and applying them in another medium

      would not replicate the uniform itself.” Id. at 1012. The Court emphasized, however,



                                                     - 57 -
Case 3:15-cv-00849-MMH-PDB Document 468 Filed 03/21/19 Page 58 of 75 PageID 14367




      that the copyright protection did not extend to the “shape, cut and dimensions” of the

      cheerleading uniforms “on which the decorations in this case appear.” Id. at 1013.

             Here, Lanard contends that the Chalk Pencil design is a sculptural work separable

      from the chalk holder function of the device. Although Lanard does not identify any

      specific sculptural “feature” of the overall design that it maintains is separable, Lanard’s

      position appears to be that the pencil design itself serves no utilitarian function and merely

      encases the chalk holder. See Ted Arnold Ltd. v. Silvercraft Co., 259 F. Supp. 733, 734-

      35 (S.D.N.Y. 1966) (finding that an antique telephone design which was used as a casing

      for a pencil sharpener was a copyrightable design).            The problem with Lanard’s

      argument, however, is that the pencil design does not merely encase or disguise the chalk

      holder, it is the chalk holder. When one imagines the pencil design as a separate work

      of sculptural art, one is merely picturing a replica of the chalk holder. See Star Athletica,

      137 S. Ct. at 1012, 1013 n.2. While Lanard may have developed this particular design

      for aesthetic and imaginative reasons, “this fact alone does not make the entire useful

      article copyrightable.” See Progressive Lighting, Inc., 549 F. App’x at 921; Norris Indus.,

      Inc., 696 F.2d at 924 (“‘[E]ven if the appearance of an article is determined by aesthetic

      (as opposed to functional) considerations, only elements, if any, which can be identified

      separately from the useful article as such are copyrightable.’” (emphasis added) (quoting

      H.R.Rep. No. 94-1476, 94th Cong., 2d Sess. 55, reprinted in 1976 U.S. Code Cong. &

      Admin. News 5667, 5668)).        Moreover, unlike Star Athletica, Lanard does not seek

      protection for artistic surface features, applied to the utilitarian object; Lanard seeks to

      protect the entirety of the Chalk Pencil—including its shape and form—the very

      components that make up the chalk holder itself. See Star Athletica, 137 S. Ct. at 1013



                                                  - 58 -
Case 3:15-cv-00849-MMH-PDB Document 468 Filed 03/21/19 Page 59 of 75 PageID 14368




      (“To be clear, the only feature of the cheerleading uniform eligible for a copyright in this

      case is the two-dimensional work of art fixed in the tangible medium of the uniform fabric

      . . . .     [R]espondents have no right to prohibit any person from manufacturing a

      cheerleading uniform of identical shape, cut, and dimensions to the ones on which the

      decorations in this case appear.”); id. at 1016 (“[O]ur test does not render the shape, cut,

      and physical dimensions of the cheerleading uniforms eligible for copyright protection.”);

      see also id. at 1032-33 (Breyer, J., dissenting) (“A separable design feature must be

      ‘capable of existing independently’ of the useful article as a separate artistic work that is

      not itself the useful article.”). While the Chalk Pencil in its entirety may be a “‘unique and

      attractively shaped’” chalk holder, its features are not capable of “existing independently”

      as a work of art, and therefore, it is not protectable under copyright law. Id. at 1011

      (quoting 37 C.F.R. § 202.10(c) (1960)); Progressive Lighting, Inc., 549 F. App’x at 920-21

      (“Our precedent makes clear that an entire useful article cannot receive copyright

      protection, no matter how many superfluous, aesthetic individual components it has.”);

      Norris Indus., Inc., 696 F.2d at 924. Accordingly, Lanard does not own a valid copyright

      in the Chalk Pencil and its copyright claim must fail.

                However, even if Lanard does have a protectable copyright interest in the Chalk

      Pencil, Lanard fails to demonstrate that Defendants infringed any protectable aspect of

      that work. The infringement analysis in this case is closely akin to the Eleventh Circuit’s

      decision in Baby Buddies, Inc. v. Toys “R” Us, Inc., 611 F.3d 1308 (11th Cir. 2010). In

      Baby Buddies, the plaintiff had designed a pacifier holder featuring a white, plastic teddy

      bear attached to a ribbon tether with a bow, and obtained a copyright registration for the

      design. See Baby Buddies, Inc., 611 F.3d at 1311. The defendant, Toys “R” Us, initially



                                                  - 59 -
Case 3:15-cv-00849-MMH-PDB Document 468 Filed 03/21/19 Page 60 of 75 PageID 14369




      carried the plaintiff’s pacifier holder, but later decided to design its own. Id. at 1311-12.

      The Toys “R” Us pacifier holder also featured a small white plastic bear with a ribbon tether

      and a bow. Id. at 1312. The plaintiff sued Toys “R” Us for copyright infringement and

      after discovery, the district court granted summary judgment in favor of Toys “R” Us finding

      no infringement. 25     Id. at 1310-11.       The Eleventh Circuit affirmed, finding that when

      “focusing on only the elements protected by the copyright laws (that is, setting aside the

      unoriginal and nonexpressive elements of the Baby Buddies pacifier holder),” the pacifier

      holders were not substantially similar. Id. at 1317-21.

              In Baby Buddies, the court’s analysis began with a determination that the plastic

      bears and bows were the only elements of the design eligible for copyright protection, as

      the remainder of the design served the utilitarian function of connecting a baby’s pacifier

      to his clothes. Id. at 1317-18. The court then compared the bears and found that while

      they shared the same basic anatomical features, this was not a sufficient basis to find

      similarity because “every sculpture of a teddy bear shares these features simply because

      these features are what defines a teddy bear.”                Id. at 1317.      “To protect this basic

      combination of features would in effect give Baby Buddies exclusive rights over the very

      idea of a plastic sculpted teddy bear, which is expressly precluded under the copyright

      laws.” Id. The court then considered the “particularized expression” of the two bears

      and found distinctive features such that “[n]o properly instructed juror could find these

      bears substantially similar.” Id. at 1319.




      25
        Notably, the evidence in that case revealed that the Toys R Us designer was sent a copy of plaintiff’s
      pacifier holder with a note saying in part “‘I need a new animal design. The buyer likes this bear but I do
      not want to produce the same exact thing. Can you please work on a similar design.’” Id.



                                                        - 60 -
Case 3:15-cv-00849-MMH-PDB Document 468 Filed 03/21/19 Page 61 of 75 PageID 14370




             Here, both Lanard and Defendants have incorporated a no. 2 pencil design into a

      chalk holder.   Thus, both designs employ the general features of a no. 2 pencil—a

      tapered conical holder for the writing element, a yellow, hexagonal elongated body, a

      silver, grooved ferrule, a pink columnar eraser, and the number 2 in a darkened oval. But,

      as with the anatomical features of a teddy bear, every sculpture of a no. 2 pencil contains

      these features as they are what define a no. 2 pencil. “To protect this basic combination

      of features would in effect give [Lanard] exclusive rights over the very idea of a [no. 2

      pencil], which is expressly precluded under the copyright laws.” Baby Buddies, Inc., 611

      F.3d at 1317; see also Mattel, Inc., 365 F.3d at 135-36 (“[Plaintiff’s] copyright in a doll

      visage with an upturned nose, bow lips, and widely spaced eyes will not prevent a

      competitor from making dolls with upturned noses, bow lips, and widely spaced eyes, even

      if the competitor has taken the idea from [plaintiff’s] example, so long as the competitor

      has not copied [plaintiff’s] particularized expression.”). Thus, the Court must consider

      “the particular ways in which those general features or ideas are expressed.” Id. at 1318.

      As stated above in the patent analysis, there are readily apparent differences in each

      company’s expression of a pencil-shaped chalk holder. Most notably, the appearance of

      the ferrules on the two chalk holder designs are dissimilar, the proportions of the separate

      elements in relation to each other are different, and the color, surface and slope of the

      tapered conical pieces are distinct, as is the specific pink shade of the eraser. In addition,

      not only are the words on the chalk holders different, both the positioning and font of the

      words are distinctly different as well.

             Lanard asks the Court to find substantial similarity because the works both involve

      no. 2 pencil designs applied to chalk holders, and there are numerous other ways to design



                                                  - 61 -
Case 3:15-cv-00849-MMH-PDB Document 468 Filed 03/21/19 Page 62 of 75 PageID 14371




      a chalk holder that do not employ the look of a pencil.26 This argument is faulty as the

      Court must consider the sculptural design separately from the useful article into which it is

      incorporated. See Star Athletica, 137 S. Ct. at 1007; Baby Buddies, Inc., 611 F.3d at

      1317-21.      Notably, in Baby Buddies, the court analyzed the similarity of the bears

      separately from their application to pacifier holders. Indeed, the Eleventh Circuit rejected

      the plaintiff’s attempt to “invoke the protection of copyright laws to prevent a competitor

      from using the idea of putting a sculpted teddy bear and a color-coordinated bow on a

      ribbon tether to create an aesthetically appealing pacifier holder.” See Baby Buddies,

      Inc., 611 F.3d at 1320. The Baby Buddies Court explained that “this type of creative

      competition is entirely consistent with the copyright laws,” and that while Baby Buddies

      “has the right to prevent others from copying its creative expression,” it does not have the

      ability to stop others “from expressing similar ideas differently.” Id. at 1320-21. As in

      Baby Buddies, Lanard is not entitled to copyright protection for the idea of a pencil-shaped

      chalk holder. See id. at 1320 (finding no copyright infringement where “there are almost

      no similarities between the two pacifier holders beyond the general idea of including a

      teddy bear . . . , a ribbon bow, and a pastel-based color scheme on a baby’s pacifier



      26
         Lanard relies on Anders’ expert opinions to support its copyright infringement claim. Anders’ entire
      analysis of similarity consists of the following statement: “there is enough similarity between the accused
      infringing work and the copyrighted work to conclude the former copied from the later.” See Anders Report
      at 52. He adds that “[i]t is apparent” that each Defendant infringed Lanard’s copyright “because the accused
      product is substantially the same as each and every image contained in the copyright.” See id. As Anders
      makes no attempt to identify the unprotectable elements of Lanard’s pencil design or distinguish between
      similarity arising out of Lanard’s particularized expression as opposed to its unprotectable idea, Anders’
      conclusory opinions are entirely insufficient to create a genuine issue of material fact. Indeed, given this
      complete lack of analysis, Anders’ opinions are based on nothing more than his own ipse dixit and as such
      fail to satisfy the requirements of Daubert. See Cook ex rel. Estate of Tessier v. Sheriff of Monroe Cnty.,
      Fla., 402 F.3d 1092, 1111-13 (11th Cir. 2005) (affirming district court’s decision to exclude an expert opinion
      that was “connected to existing data only by the ipse dixit of the expert,” and “unsubstantiated by any
      proffered facts, explanation, or analysis”).



                                                          - 62 -
Case 3:15-cv-00849-MMH-PDB Document 468 Filed 03/21/19 Page 63 of 75 PageID 14372




      holder”). Lanard’s insistence that there are many ways to design a chalk holder that do

      not utilize a pencil design misses the point—there are also many ways to design a baby’s

      pacifier holder that do not utilize a teddy bear, and many ways to design a jewelry pin that

      do not utilize a bee. Baby Buddies, Inc., 611 F.3d at 1320; Herbert Rosenthal Jewelry

      Corp. v. Kalpakian, 446 F.2d 738, 740-41 (9th Cir. 1971). Ja-Ru, TRU and Dolgencorp,

      “are free to utilize” the idea of a pencil-shaped chalk holder, “so long as they do not

      plagiarize its expression.”        See Herbert Rosenthal Jewelry Corp., 446 F.2d at 741.

      Given the differences in the pencil features of the designs, no reasonable juror could

      conclude that Defendants have appropriated Lanard’s expression of a pencil-shaped chalk

      holder, as opposed to the idea of such an item. Accordingly, the Court determines that

      Defendants are entitled to summary judgment in their favor on the claim for copyright

      infringement.

      VII.    Trade Dress27

              The Eleventh Circuit recognizes a federal cause of action for the infringement of

      unregistered trade dress pursuant to section 43(a) of the Lanham Act, 15 U.S.C. § 1125(a).

      See John H. Harland Co. v. Clarke Checks, Inc., 711 F.2d 966, 980 (11th Cir. 1983).

      “‘Trade dress’ involves the total image of a product and may include features such as size,

      shape, color or color combinations, texture, graphics, or even particular sales techniques.”



      27
         Lanard also asserts claims for statutory and common law unfair competition under the Lanham Act and
      Florida common law. In its Motion for Summary Judgment, Lanard does not distinguish between its unfair
      competition claims and its trade dress infringement claim, and concedes that its “statutory and common law
      unfair competition claims under federal and Florida law are predicated on” Defendants’ purported trade dress
      infringement. See Lanard Motion at 34-35. As Lanard’s trade dress infringement claim fails for the reasons
      set forth below, the Court need not conduct a separate analysis of Lanard’s unfair competition claims. See
      Planetary Mtn, Inc. v. Techsplosion, Inc., 261 F.3d 1188, 1193 n.4 (11th Cir. 2001) (citing Investacorp, Inc.
      v. Arabian Inv. Banking Corp. (Investcorp) E.C., 931 F.2d 1519, 1521 (11th Cir. 1991)).



                                                         - 63 -
Case 3:15-cv-00849-MMH-PDB Document 468 Filed 03/21/19 Page 64 of 75 PageID 14373




      Id. Although “[m]ost trade dress infringement actions involve the packaging or labeling of

      goods,” courts have also recognized that “the design of a product itself may constitute

      protectable trade dress under § 43(a) of the Lanham Act.” Id.; see also Wal-Mart Stores,

      Inc. v. Samara Bros., Inc., 529 U.S. 205, 209-10 (2000). To prevail on its claim for trade

      dress infringement, Lanard must prove three things: (1) “‘[t]hat the trade dress of the two

      products is confusingly similar,’” (2) “‘that the features of the trade dress are primarily non-

      functional,’” and (3) “‘that the trade dress has acquired secondary meaning.’” See John

      H. Harland Co, 711 F.2d at 980 (quoting Black & Decker Co. v. Ever-ready Appliance Mfg.

      Co., 518 F. Supp. 607, 616 (E.D. Mo. 1981) aff’d 684 F.2d 546 (8th Cir. 1982)). “‘[A]ll

      three elements are necessary for a finding of trade dress infringement,’” such that any one

      of them can be “‘characterized as threshold.’” See Dippin’ Dots, Inc. v. Frosty Bites

      Distribution, LLC, 369 F.3d 1197, 1202 (11th Cir. 2004) (internal quotation omitted).

      Here, Defendants contend that Lanard cannot prevail on its trade dress claim because

      Lanard fails to present sufficient evidence that the Chalk Pencil has acquired secondary

      meaning.28

              “‘To establish secondary meaning the plaintiff must show that the primary

      significance of the product in the minds of the consuming public is not the product itself

      but the producer.’” See Brooks Shoe Mfg. Co., Inc. v. Suave Shoe Corp., 716 F.2d 854,

      857 n.7 (11th Cir. 1983) (quoting Vision Ctr. v. Opticks, Inc., 596 F.2d 111, 118 (5th Cir.



      28
         Lanard does not and cannot argue that its Chalk Pencil is inherently distinctive. See Wal-Mart Stores,
      Inc. v. Samara Bros., Inc., 529 U.S. 205, 212-14, 216 (2000) (holding that a product-design trade dress can
      never be inherently distinctive) (“[I]n an action for infringement of unregistered trade dress under § 43(a) of
      the Lanham Act, a product’s design is distinctive, and therefore protectible, only upon a showing of
      secondary meaning.”).




                                                          - 64 -
Case 3:15-cv-00849-MMH-PDB Document 468 Filed 03/21/19 Page 65 of 75 PageID 14374




      1979) 29 ); Wal-Mart Stores, Inc., 529 U.S. at 211 (instructing that secondary meaning

      “occurs when, ‘in the minds of the public, the primary significance of a [mark] is to identify

      the source of the product rather than the product itself’” (quoting Inwood Labs., Inc. v. Ives

      Labs., Inc., 456 U.S. 844, 851 n.11 (1982))). “‘Establishing secondary meaning is best

      accomplished by surveys or other quantitative evidence.’”                   See Olem Shoe Corp. v.

      Wash. Shoe Corp., No. 09-23494-CIV, 2011 WL 6202282, at *20 (S.D. Fla. Dec. 1, 2011)

      (quoting Habersham Plantation Corp. v. Investment P’ship, L.P., No. 10-61532-CIV, 2011

      WL 4005454, at *6 (S.D. Fla. Sept. 8, 2011)). Nonetheless, although survey evidence is

      “the most direct and persuasive evidence” to establish secondary meaning, it is not

      required. See Sugar Busters LLC v. Brennan, 177 F.3d 258, 269 (5th Cir. 1999); see

      also Vision Ctr., 596 F.2d at 119 (“In assessing a claim of secondary meaning, ‘the chief

      inquiry is the attitude of the consumer toward the mark; does it denote to him a, single

      thing coming from a single source? Short of a survey, this is difficult of direct proof.’”

      (quoting Aloe Crème Labs, Inc. v. Milsan, Inc., 423 F.2d 845, 849 (5th Cir. 1970))).

      Absent consumer survey evidence, “four factors can be considered in determining whether

      a particular mark has acquired a secondary meaning.” See Investacorp, Inc. v. Arabian

      Inv. Banking Corp. (Investcorp) E.C., 931 F.2d 1519, 1525 (11th Cir. 1991).                          These

      factors are:

              “(1) [T]he length and manner of its use; (2) the nature and extent of
              advertising and promotion; (3) the efforts made by the plaintiff to promote a
              conscious connection in the public’s mind between the name and the




      29
        In Bonner v. City of Prichard, 661 F.2d 1206, 1209 (11th Cir. 1981) (en banc), the Eleventh Circuit adopted
      as binding precedent all the decisions of the former Fifth Circuit handed down prior to the close of business
      on September 30, 1981.



                                                         - 65 -
Case 3:15-cv-00849-MMH-PDB Document 468 Filed 03/21/19 Page 66 of 75 PageID 14375




              plaintiff’s . . . business; and (4) the extent to which the public actually
              identifies the name with the plaintiff’s [product].”

       Id. (quoting Conagra, Inc. v. Singleton, 743 F.2d 1508, 1513 (11th Cir. 1984)).

      Significantly, “a plaintiff has the burden of sustaining a high degree of proof establishing

      secondary meaning . . . .” See Gift of Learning Foundation, Inc. v. TGC, Inc., 329 F.3d

      792, 800 (11th Cir. 2003); Investacorp, Inc., 931 F.2d at 1525 (instructing that the “high

      degree of proof” necessary to establish secondary meaning “must be considered by the

      court when ruling on a motion of summary judgment”); Vision Ctr., 596 F.2d at 118; see

      also Yankee Candle Co., Inc. v. Bridgewater Candle Co., LLC, 259 F.3d 25, 43 (1st Cir.

      2001) (“[P]roof of secondary meaning entails vigorous evidentiary requirements.” (internal

      quotation omitted)).

              Here, Lanard argues that it has established secondary meaning based on evidence

      of the following: 1) intentional copying, 2) significant sales, and 3) “substantially exclusive

      use of the trade dress for five years . . . .” See Lanard Motion at 33. Upon careful

      consideration, however, the Court determines that Lanard vastly overstates its evidence

      of secondary meaning. When placed in proper context, Lanard’s evidence woefully fails

      to meet its high burden of establishing any connection between Lanard and the Chalk

      Pencil in the mind of the consumer. As no reasonable juror could find secondary meaning

      on the record before this Court, the Court finds, for the reasons set forth below, that

      Defendants are entitled to summary judgment on Lanard’s trade dress infringement and

      unfair competition claims as well.30



      30
        To the extent Lanard argues that Defendants are estopped from challenging the validity of Lanard’s trade
      dress under the licensee estoppel doctrine, this argument is without merit. Lanard cites no authority to
      support its contention that the licensee estoppel doctrine can apply to bar an attack on the validity of a trade



                                                          - 66 -
Case 3:15-cv-00849-MMH-PDB Document 468 Filed 03/21/19 Page 67 of 75 PageID 14376




              First, the Court reviews Lanard’s evidence of intentional copying. Lanard presents

      evidence that unequivocally establishes that Ja-Ru used Lanard’s Chalk Pencil as a

      “reference” or “market” sample in designing the Ja-Ru Chalk Holder.                           However, this

      evidence also shows that Ja-Ru modified the design, in the ways detailed above, as well

      as with respect to the overall size of the chalk holder. Significantly, Lanard does not

      assert, and there is no evidence to suggest, that Defendants engaged in any instances of

      actual palming off or deception related to the Ja-Ru Chalk Holder. See Brooks Shoe Mfg.

      Co., 716 F.2d at 859 n. 11 (“‘Palming off is an attempt by one person to induce consumers

      to believe that his product is actually that of another; it requires an intent to deceive and




      dress for lack of secondary meaning. See John C. Flood of Va., Inc. v. John C. Flood, Inc., 642 F.3d 1105,
      1110-12 (D.C. Cir. 2011) (finding trademark licensee barred from arguing abandonment of the mark on the
      basis of naked licensing as it had benefited from the license of the disputed marks for over two decades);
      Creative Gifts, Inc. v. UFO, 235 F.3d 540, 548 (10th Cir. 2000) (holding licensee was estopped from arguing
      abandonment of a trademark based on naked licensing where it was the failure to police the licensee’s own
      conduct which predicated the naked licensing argument); Prof’l Golfers Ass’n of Am. v. Bankers Life & Cas.
      Co., 514 F.2d 665 (5th Cir. 1975) (finding licensee was estopped from arguing abandonment of trademark
      where the facts on which licensee relies arose during the course of its licensing agreement). Notably, “[t]he
      point of licensee estoppel is to foreclose the sort of claim . . . where the licensee blames the licensor for the
      licensee’s own failure to preserve the value of the license . . . .” See John C. Flood of Va., Inc. v. John C.
      Flood, Inc., 700 F. Supp. 2d 90, 98 (D.D.C. 2010) aff’d 642 F.3d 1105, 1112 (D.C. Cir. 2011). That is not
      the situation here. Rather, in the instant action Lanard attempts to use the licensee estoppel doctrine not
      to equitably estop Defendants from raising an affirmative defense, but as a means of satisfying Lanard’s
      burden to establish secondary meaning. Lanard presents no authority that the licensee estoppel doctrine
      can be used in this way.
                Regardless, even if licensee estoppel could apply in this context, Lanard has not provided any
      evidence that it licensed the use of its purported trade dress rights in the Lanard Chalk Pencil to Dolgencorp
      or TRU, the wholesale purchasers of the product. Although Lanard contends that Dolgencorp and TRU are
      licensees “by virtue of their distributor agreements with Lanard,” Lanard does not provide any copies of those
      agreements which could indicate whether any licensing agreement related to Lanard’s purported trade dress
      rights in the Chalk Pencil were present. Moreover, while “[p]arties do not need an express writing for a court
      to find that a license relationship exists,” Lanard cites no evidence from which a fact-finder could infer that
      the parties had entered into a licensing agreement with respect to Lanard’s purported trade dress rights.
      Cf. Pandora Jewelers 1995, Inc. v. Pandora Jewelry, LLC, No. 09-61490-Civ, 2011 WL 2174012, at *5-7
      (S.D. Fla. June 2, 2011). Thus, absent any evidence that Dolgencorp or TRU ever “recognized the validity
      of the licensor’s ownership” of any trade dress rights, the equitable basis for applying this doctrine is absent.
      See John C. Flood of Va., Inc., 642 F.3d at 1110 (“[I]n general, trademark licensees are estopped from
      challenging the validity of the licensor’s title because by agreeing to the license, the licensee has recognized
      the validity of the licensor’s ownership.” (emphasis added)).



                                                           - 67 -
Case 3:15-cv-00849-MMH-PDB Document 468 Filed 03/21/19 Page 68 of 75 PageID 14377




      proof of actual fraud.’” (quoting Ralston Purina Co. v. Thomas J. Lipton, Inc., 341 F. Supp.

      129, 135 (S.D.N.Y. 1972))). As the Eleventh Circuit recognized in Brooks Shoe Mfg.:

              close copying does not necessarily indicate that the defendant has
              attempted to capitalize on the secondary meaning of plaintiff’s trademark or
              trade dress because “[t]here may have been many other motivations for
              defendant’s actions.” Further, “[i]t must . . . not be forgotten that there is
              absolutely nothing legally or morally reprehensible about exact copying of
              things in the public domain.”

      Id. at 860 (internal citations omitted) (quoting 1 J.T. McCarthy, Trademarks and Unfair

      Competition, § 15:4, at 531 (1973)). Indeed, “attempts to copy a product configuration

      will quite often not be probative: the copier may very well be exploiting a particularly

      desirable feature, rather than seeking to confuse consumers as to the source of the

      product.” See Duraco Prods., Inc. v. Joy Plastic Enters., Ltd., 40 F.3d 1431, 1453 (3d

      Cir. 1994); Yankee Candle Co., Inc., 259 F.3d at 44-45. Given the differences in the two

      designs, the ubiquity of the no. 2 pencil design in the public domain, and the absence of

      any evidence that Defendants intended to benefit from Lanard’s reputation, this evidence

      of copying is entitled to little weight in establishing secondary meaning. Brooks Shoe

      Mfg., 716 F.2d at 859-60, 861 n.17.31

             Second, Lanard’s reliance on its “substantial sales” is not born out by the evidence.

      “[S]econdary meaning must attach to the mark before [Defendants] first used the mark . .

      . .”   See Investacorp, Inc., 931 F.2d at 1525 (emphasis added); see also Knights

      Armament Co. v. Optical Sys. Tech., Inc., 654 F.3d 1179, 1189 (11th Cir. 2011) (“The party




      31
        Indeed, this point is especially salient as to TRU who sold the Chalk Pencil under its own private label,
      Sizzlin’ Cool. Thus, it is hard to conceive how TRU intended to profit from Lanard’s reputation, as
      consumers would have associated both versions of the pencil-shaped chalk holder with TRU.




                                                        - 68 -
Case 3:15-cv-00849-MMH-PDB Document 468 Filed 03/21/19 Page 69 of 75 PageID 14378




      seeking trademark protection must demonstrate that its mark acquired secondary meaning

      before the alleged infringer first began using the mark.”). Thus, Lanard’s assertions that

      it has “shipped 1,415,034 units of its Chalk Pencil between 2010 and 2016, accumulating

      gross sales in the amount of $2,770,047.06, and has $2,879,787.46 in total gross sales

      up to July 21, 2017” are irrelevant. See Lanard Motion at 33. Rather, the Court looks to

      the length and manner of the Chalk Pencil’s use from November 2010, when Lanard

      introduced the item to the market, to January 2014, when TRU began retail sales of the

      Ja-Ru Chalk Holder.32 During this period of time, Lanard sold 581,984 units of its Chalk

      Pencil in the United States, totaling $1,113,007.90 in sales.                       Lanard’s sales data,

      however, does not establish any connection in the consumer’s mind between Lanard and

      the Chalk Pencil. See Investacorp, Inc., 931 F.2d at 1525-26 (“[T]he length of [plaintiff’s]

      use of the mark was five years prior to the [defendant’s] use of their mark. However,

      there is nothing significant about the manner of [plaintiff’s] use of the mark, other than

      [plaintiff] merely ‘displayed its service mark on nearly all of its transactional documents.’”);

      Vision Ctr., 596 F.2d at 119 (“‘[C]ourts have summarily rejected claims of secondary

      meaning predicated solely upon the continued use of the mark for many years.’” (internal

      quotation omitted)); Brooks Shoe Mfg. Co., Inc., 716 F.2d at 860 (“We recognize that




      32
        Lanard also argues that it has presented prima facie evidence of acquired distinctiveness because it had
      “substantially exclusive use of the trade dress for five years.” See Lanard Motion at 33. This argument is
      not supported by the evidence. As stated above, prior to the Ja-Ru Chalk Holder entering the market,
      Lanard had “substantially exclusive use” of the trade dress for just over three years. Indeed, Lanard had
      not even used its purported trade dress for five years at the time it initiated this lawsuit. See Complaint and
      Demand for Trial by Jury (Doc. 1), filed March 27, 2014. Thus, Lanard’s reliance on 15 U.S.C. § 1052(f) is
      misplaced. See 15 U.S.C. § 1052(f) (“The Director may accept as prima facie evidence that the mark has
      become distinctive, as used on or in connection with the applicant’s goods in commerce, proof of
      substantially exclusive and continuous use thereof as a mark by the applicant in commerce for five years
      before the date on which the claim of distinctiveness is made.”).



                                                          - 69 -
Case 3:15-cv-00849-MMH-PDB Document 468 Filed 03/21/19 Page 70 of 75 PageID 14379




      evidence of sales, advertising and promotional activities may be relevant to determining

      whether a trademark or trade dress has acquired secondary meaning, but we are unable

      to conclude that [plaintiff’s] evidence is sufficient to prove secondary meaning in this

      case.”). Indeed, as the Third Circuit Court of Appeals explained in Duraco Products., Inc.:

            Sales success by itself will typically not be as probative of secondary
            meaning in a product configuration case as in a trademark case, since the
            product’s market success may well be attributable to the desirability of the
            product configuration rather than the source-designating capacity of the
            supposedly distinguishing feature or combination of features. And unlike
            with a trademark, where repeated purchases of a product support an
            inference that consumers have associated the mark with the producer or
            source, one can much less confidently presume that a consumer’s repeated
            purchase of a product has created an association between a particular
            product configuration and the source.

      Id. at 1452-53. Accordingly, it is difficult to draw any inference of secondary meaning

      from Lanard’s evidence of sales alone.

            Notably absent from the record is any evidence of Lanard’s advertising or promotion

      of the Chalk Pencil, much less the effectiveness of those efforts in creating a consumer

      association between Lanard and the Chalk Pencil. To the contrary, the record reflects

      that Lanard did not engage in any advertising or promotional activities with respect to the

      Chalk Pencil. See Choderker Decl. ¶ 17, Ex. P: Plaintiff/CounterDefendant Lanard Toys

      Limited’s Verified Amended Response to Defendant/Counterclaimant Toys R US

      Delaware, Inc.’s Interrogatories, Set One (Doc. 302-39; Lanard Interrog.), No. 23.

      Moreover, there is no evidence whatsoever that consumers, either the public or retailers,

      actually draw a connection between the Chalk Pencil and Lanard, much less any evidence

      of actual confusion between the products. Lanard concedes that it has no knowledge of

      any inquiries as to the source or sponsorship of the Lanard Chalk Pencil and Ja-Ru Chalk




                                                 - 70 -
Case 3:15-cv-00849-MMH-PDB Document 468 Filed 03/21/19 Page 71 of 75 PageID 14380




      Holder, nor does it have any evidence of actual consumer confusion.              See Lanard

      Interrog., Nos. 3-4, 14. Even viewing the evidence in the light most favorable to Lanard,

      Lanard’s attempt to establish secondary meaning solely based on evidence that Ja-Ru

      copied its idea of a pencil-shaped chalk holder and that Lanard sold approximately 600,000

      Chalk Pencils in the United States during the relevant time period is insufficient to meet its

      high evidentiary burden of establishing secondary meaning. See Investacorp, Inc., 931

      F.2d at 1525-26 (affirming summary judgment for defendant where undisputed facts show

      that trademark had not acquired secondary meaning); Gift of Learning Foundation, Inc.,

      329 F.3d at 801-02 (affirming entry of summary judgment despite evidence of intentional

      copying and actual confusion); Yankee Candle Co., Inc., 259 F.3d at 43-45 (affirming entry

      of summary judgment based upon finding that evidence of extensive sales, expenditure of

      significant resources in advertising, and intentional copying was insufficient to establish

      secondary meaning given the lack of any evidence that actual consumers associated the

      claimed trade dress with the plaintiff); Duraco Prods., Inc., 40 F.3d at 1453-54; see also

      Olem Shoe Corp., 2011 WL 6202282, at *21 (finding plaintiff failed to meet its evidentiary

      burden to establish secondary meaning in trade dress claim where plaintiff failed to

      produce legally sufficient evidence to establish that the public actually identifies the trade

      dress with the plaintiff or its brands); Barn Light Electric Co., LLC v. Barnlight Originals,

      Inc., No. 8:14-cv-1955-MSS-AEP, 2016 WL 7135076, at *5 (M.D. Fla. Sept. 28, 2016);

      Vision Ctr., 596 F.2d at 119. As this is an essential element of Lanard’s trade dress

      infringement claim, the Court determines that summary judgment in favor of Defendants

      on Lanard’s trade dress claim is warranted.




                                                  - 71 -
Case 3:15-cv-00849-MMH-PDB Document 468 Filed 03/21/19 Page 72 of 75 PageID 14381




      VIII.   Conclusion

              In the foregoing analysis, the Court has determined that Lanard failed to satisfy its

      burden of demonstrating that the Ja-Ru Chalk Holder infringed the D#167 Patent. In

      addition, the Court found that Lanard’s copyright in the Chalk Pencil is invalid as the Chalk

      Pencil is a useful article. Alternatively, the Court found that even if the copyright is valid,

      Defendants did not copy any of the protectable elements of Lanard’s work, and as such

      Lanard failed to demonstrate a material issue of fact on infringement. As to the trade

      dress claim, on the record before the Court, Lanard cannot satisfy its burden of

      establishing secondary meaning in the design of the Chalk Pencil.            Finally, because

      Lanard fails to present sufficient evidence of infringement as to any of its claims, Lanard’s

      unfair competition claim also fails.     In light of the foregoing, Defendants Motion for

      Summary Judgment on all counts of the Amended Complaint is due to be granted, and

      Lanard’s Motion for Summary Judgment as to the claims in the Amended Complaint is due

      to be denied.

              The Court now turns to the remaining Counterclaims for declaratory judgment in

      this action. Federal courts have “unique and substantial discretion in deciding whether to

      declare the rights of litigants[,]” or to dismiss or stay an action seeking a declaratory

      judgment. Wilton v. Seven Falls Co., 515 U.S. 277, 286 (1995); see also Fed. Reserve

      Bank of Atlanta v. Thomas, 220 F.3d 1235, 1247 (11th Cir. 2000) (“[I]t undoubtedly is true

      that, in ordinary circumstances, 18 U.S.C. § 2201 would give the district court the discretion

      to dismiss a declaratory judgment action such as this even though the action comes within

      its original jurisdiction.”). In exercising its discretion, however, a district court may not

      decline to entertain a declaratory judgment action “on the basis of whim or personal



                                                  - 72 -
Case 3:15-cv-00849-MMH-PDB Document 468 Filed 03/21/19 Page 73 of 75 PageID 14382




      disinclination[,]” Angora Enters. Inc., v. Condo. Ass’n of Lakeside Village, Inc., 796 F.2d

      384, 387 (11th Cir. 1986) (per curiam), but “the range of considerations available to the

      district court in deciding whether to entertain the declaratory action is vast and the

      deference afforded to its decision is substantial.” See Manuel v. Convergys Corp., 430

      F.3d 1132, 1137-38 (11th Cir. 2005). Significantly, “[w]here a district court has before it

      a declaratory judgment action and a direct action containing all of the issues in the

      declaratory judgment action, and decides the common issues in the direct action, it may

      exercise its discretion to dismiss the declaratory judgment complaint.” Orion Pictures

      Corp. v. Showtime Networks, Inc.. (In re Orion Pictures Corp.), 4 F.3d 1095, 1100 (2d Cir.

      1993) (citing Tyler Pharmacal Distrib., Inc. v. U.S. Dep’t of Health, Educ. and Welfare, 408

      F.2d 95, 97 (7th Cir. 1969)); see also Knights Armament Co. v. Optical Sys. Tech., 568 F.

      Supp. 2d 1369, 1374-75 (M.D. Fla. 2008) (“Because the parties’ rights with respect to

      trademarks will be decided by the infringement claims at hand, there is no need for

      declaratory judgment.”).

             Here, Defendants brought several Counterclaims seeking declaratory judgments as

      to the invalidity, unenforceability, and non-infringement of Lanard’s Copyright Registration

      No. VA 1-794-458, the D#167 Patent, and any purported trade dress rights in the Chalk

      Pencil, as well as a declaration that Defendants have not engaged in unfair competition.

      Notably, however, Defendants did not move for summary judgment in their favor on the

      claims raised in their Counterclaims. Nonetheless, as the Court’s rulings on Lanard’s

      direct claims have either addressed the issues raised by the Counterclaims or otherwise

      resolved the controversy between the parties, the Court will exercise its discretion to

      dismiss the Counterclaims without prejudice. Accordingly, to the extent Lanard moves



                                                 - 73 -
Case 3:15-cv-00849-MMH-PDB Document 468 Filed 03/21/19 Page 74 of 75 PageID 14383




      for summary judgment in its favor on various claims raised in the Counterclaims, the Court

      will deny that request as moot. In light of the foregoing, it is

             ORDERED:

             1.     Plaintiff’s Motion to (1) Strike the Supplemental Report of Ronald B.

                    Kemnitzer as Untimely; and (2) Exclude the Opinions and Testimony of the

                    Defendants’ Purported Expert Ronald B. Kemnitzer (Doc. 310) is

                    GRANTED, in part, and DENIED, in part as set forth above.

             2.     Defendants’ Daubert Motion to Disqualify Robert John Anders and Preclude

                    Testimony (Doc. 314) is GRANTED, in part, as set forth above, and

                    otherwise DENIED as moot.

             3.     Defendants’ Dispositive Motion for Summary Judgment and Memorandum

                    of Law in Support (Doc. 302) is GRANTED.

             4.     Defendants’ Counterclaims (Doc. 270-272) are DISMISSED without

                    prejudice.

             5.     Plaintiff’s Motion for Partial Summary Judgment (Doc. 299) is DENIED as to

                    the claims raised in the Amended Complaint, and DENIED as moot as to

                    the claims raised in the Counterclaims.

             6.     The Clerk of the Court is directed to enter JUDGMENT in favor of Defendants

                    Toys “R” Us-Delaware, Inc., Dolgencorp, LLC, and Ja-Ru, Inc. and against

                    Plaintiff Lanard Toys Limited on all counts of the Second Amended

                    Complaint and Demand for Jury Trial (Doc. 103).




                                                  - 74 -
Case 3:15-cv-00849-MMH-PDB Document 468 Filed 03/21/19 Page 75 of 75 PageID 14384




            7.     The Clerk of the Court is further directed to terminate any pending motions

                   and deadlines as moot and close the file.

            DONE AND ORDERED in Jacksonville, Florida this 21st day of March, 2019.




      lc11
      Copies to:

      Counsel of Record




                                               - 75 -
